Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 1 of 78 PageID #: 843




                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF WEST VIRGINIA
                            WHEELING DIVISION


 MARK MCEVOY, JAMES
 TAWNEY and SUSAN
 TAWNEY, SAMUEL STARK,
 SUSAN DENNISON, MARK GOFF,
 and CAROL DELROSSO and
 GEORGE DELROSSO, BENJAMIN
 PATTERSON, CHAD AND
 MICHELLE SILVESTER, CLINTON
 AND CANDACE DRAINER IRREVOCABLE
 TRUST, EBEN FRITTS and EBEN FRITTS III
 GARY WENTZ, HEIDI DEEM, JEFFERY L.
 SALTIS and KELLIE D. SALTIS, LANE and
 MINERVA EVANS, MAYNARD and
 JENNIFER TANNER, JOAN MEDLEY,
 JACOB and REGINA COLLETTE,
 SCOTT CORCORAN, KATHY JOHNSON,
 and CHRISTINE COCHRAN individually and
 on behalf of a proposed class,

                         Plaintiffs,

 v.                                       CIVIL ACTION NO. 5:22-cv-171

 DIVERSIFIED ENERGY COMPANY PLC,
 DIVERSIFIED GAS & OIL, PLC,
 DIVERSIFIED PRODUCTION LLC,
 DIVERSIFIED GAS & OIL CORPORATION,
 DIVERSIFIED OIL AND GAS LLC,
 ALLIANCE PETROLEUM CORPORATION,
 EQT PRODUCTION COMPANY,
 EQT PRODUCTION HTW, LLC,
 EQT ENERGY LLC,
 EQT INVESTMENT HOLDINGS, LLC,
 EQT GATHERING, LLC,
 EQM MIDSTREAM PARTNERS LP,
 EQT MIDSTREAM PARTNERS LP,
 EQT GP HOLDINGS, LP,
 and
 EQT CORPORATION,

                         Defendants.
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 2 of 78 PageID #: 844




                     SECOND AMENDED CLASS ACTION COMPLAINT

        Plaintiffs Mark McEvoy, James Tawney and Susan Tawney, Samuel Stark, Susan

 Dennison, Mark Goff, and Carol DelRosso and George DelRosso, Benjamin Patterson, Chad

 Silvester and Michelle Silvester, Clinton and Candace Drainer Irrevocable Trust, Eben Fritts and

 Eben Fritts, III, Gary Wentz, Heidi Deem, Jeffrey L. Saltis and Kellie D. Saltis, Lane Evans and

 Minerva Evans, Maynard Tanner and Jennifer Tanner, Joan Medley, Jacob Collette and Regina

 Collette, Scott Corcoran, Kathy Johnson, and Christine Cochran, individually and on behalf of a

 proposed class (collectively, “Plaintiffs”), bring this action against Defendants Diversified Energy

 Company PLC; Diversified Gas & Oil, PLC; Diversified Oil and Gas LLC; Diversified Production

 LLC; Diversified Gas & Oil Corporation; and Alliance Petroleum Corporation (collectively,

 “Diversified”), as well as Defendants EQT Production Company; EQT Production HTW; EQT

 Energy LLC; EQT Investment Holdings, LLC; EQT Gathering LLC; EQM Midstream Partners,

 LP; EQT Midstream Partners, LP; EQT GP Holdings LP; and EQT Corporation (together “EQT,”

 and with Diversified, the “Defendants”). In support, Plaintiffs respectfully state as follows:

                                   STATEMENT OF THE CASE

        1.      The law of fraudulent transfer protects creditors when debtors transfer away assets

 or incur liabilities that hinder, delay, or defraud the creditor’s ability to collect on a claim. 1 The

 law protects not only those with matured claims, but also those whose claims are contingent and/or

 unmatured.




        1
           The Alabama Uniform Fraudulent Transfers Act, Ala. Code § 8-9A-1 et seq., applies to
 transfers that took place prior to January 1, 2019 — in this case, the July 2018 Voidable Transfer.
 The Alabama Uniform Voidable Transactions Act, Ala. Code § 8-9B-1 et seq., applies to
 transactions that took place on or after January 1, 2019 — in this case the May 2020 Voidable
 Transfer.


                                                  -2-
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 3 of 78 PageID #: 845




        2.       Under both the Alabama Uniform Fraudulent Transfers Act (the “UFTA”) and its

 successor statute, the recently passed Alabama Uniform Voidable Transactions Act (the “UVTA”),

 a creditor who can establish that the transaction was either an actual fraudulent transfer or a

 constructive fraudulent transfer can void the transaction. Ala. Code §§ 8-9A-4, 5; id. §§ 8-9B-5,

 6. Assets may be used to satisfy the creditor’s claims and liabilities can be rolled back to the

 transferor. Ala. Code § 8-9A-7; id. § 8-9B-8.

        3.       A party commits an actual fraudulent transfer when it transfers assets or incurs

 liabilities with the intent to hinder, delay, or defraud its creditors’ claims. Ala. Code § 8-9A-4; id.

 § 8-9B-5.

        4.       A party commits a constructive fraudulent transfer when it fails to receive

 reasonably equivalent value for assets transferred or obligations incurred, and it is “insolvent” at

 the time of the transfer under one of three statutory definitions. Ala. Code §§ 8-9A-4, 5; id.

 §§ 8-9B-5, 6.

        5.       This case concerns two such transfers between Diversified and EQT, one in July

 2018 (the “July 2018 Voidable Transfer”) and a second in May 2020 (the “May 2020 Voidable

 Transfer”).

        6.       Through these transactions, Diversified paid EQT approximately $642 million in

 exchange for approximately 12,000 gas wells, the vast majority of which were abandoned and/or

 only marginally productive, and Diversified incurred more than a billion dollars of EQT’s

 obligations relating to those wells.

        7.       West Virginia law requires that inactive wells be plugged and the sites reclaimed

 at the end of their economic life.




                                                  -3-
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 4 of 78 PageID #: 846




         8.      The cost to plug and decommission the wells owned by Diversified at the time of

 the transfers exceeded $2 billion, based on one commentator’s application of industry standard

 estimates of those costs. 2 Indeed, Diversified’s portfolio is so dominated by uneconomic wells

 that one national publication described the company as presiding over “an empire of dying wells.” 3

 Diversified is a company “built to fail.” 4 It cannot possibly pay the cost of capping the wells it has

 acquired.

         9.      Both EQT and Diversified know this.

         10.     Before the July 2018 transaction, EQT booked the cost of plugging the transferred

 wells at $200 million. 5 Remarkably, after the transaction, Diversified falsely valued that same

 liability at just $26 million. 6

         11.     These two transactions benefited EQT and Diversified enormously. They allowed

 EQT to shed the huge liability of plugging the transferred wells and receive millions of dollars in

 return, while Diversified was able to receive the short-term cash flow generated by the relatively

 few marginally producing wells bundled up in the EQT transaction. Diversified has been able to

 use this short-term cash flow, in combination with a gross underestimate of its liabilities, to create

 an illusion of profitability and solvency.




         2
             Ted Boettner, et al., Diversified Energy: A Business Model Built to Fail Appalachia,
 Ohio River Valley Institute (Apr. 2022) (hereinafter, “Boettner Report”) (attached as Exhibit A).
 Plaintiffs believe the cost of plugging could be significantly higher than estimated by Boettner, et
 al.
          3
            Zachary R. Mider & Rachel Adams-Heard, An Empire of Dying Wells, Bloomberg,
 October 12, 2021, available at https://www.bloomberg.com/features/diversified-energy-natural-
 gas-wells-methane-leaks-2021/.
          4
            See generally Boettner Report.
          5
            Plaintiffs believe even EQT’s $200,000,000 figure significantly underestimates the actual
 liabilities associated with well plugging and remediation costs associated with the transfers.
          6
            Boettner Report at notes 99–101.


                                                  -4-
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 5 of 78 PageID #: 847




        12.     While EQT and Diversified profit, landowners are left holding the bag. When

 Diversified fails, landowners with Diversified wells on their property will be stuck with the

 plugging and remediation liability, and must bear both the cost to remediate and plug the wells on

 their land (more than $100,000 per well) and the reduced property value associated with owning a

 property with a major liability.

        13.     Plaintiffs are the landowners stuck with the liability. They each have claims against

 Diversified and EQT based upon the obligations of the Defendants to plug and remediate the wells

 on their properties. But they also bring this action, as creditors of Diversified, to void both the

 July 2018 Voidable Transfers and the May 2020 Voidable Transfers to ensure sufficient funding

 to plug and remediate those wells.

        14.     Avoiding the July 2018 Voidable Transfers and May 2020 Voidable Transfers will

 result in recovery of the more than $642 million Diversified transferred to EQT. Those funds will

 be made available to cover plugging costs now (for those with “matured claims” whose wells are

 abandoned) and in the future (for those with “contingent’ claims whose wells will over time require

 plugging). See Ala. Code § 8-9A-1; id. § 8-9B-2 (defining “claim” to include “unmatured” and

 “contingent” rights to payment).

        15.     Avoiding the transfer will also return the liability for plugging and

 decommissioning the more than 12,000 wells involved in the transfers back to EQT— ensuring

 the obligations remain with a solvent company (EQT) if the $642 million is insufficient to cover

 plugging costs for those wells.

        16.     Because certain Plaintiffs already have nonproducing, abandoned, and unplugged

 Diversified wells on their properties, those Plaintiffs also bring this action against Diversified to

 enforce their property rights under theories of nuisance, trespass, and negligence. Under




                                                 -5-
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 6 of 78 PageID #: 848




 longstanding West Virginia law, natural gas operators have only the right to use the surface to

 access the underlying minerals as reasonable and necessary for the recovery of the gas, and do not

 have the right to use the surface to park the liabilities associated with their uncapped wells.

        17.        Finally, Plaintiffs bring this action under Federal Rules of Civil Procedure 23(b)(2)

 and (c)(3) as representatives of two classes of persons and entities owning properties in West

 Virginia on which Diversified owns a natural gas well: first, the “Voidable Transfer Class,” which

 seeks through Counts Four (actual fraudulent transfer) and Five (constructive fraudulent transfer)

 to recover from EQT the $642 million fraudulently transferred by Diversified in order to pay the

 matured and contingent costs of plugging and otherwise remediating their wells and avoid the

 massive obligations Diversified took over from EQT; and second, the “Common Law Class,”

 which under Counts One (nuisance), Two (trespass), and Three (negligence) seeks to recover

 damages in the amount of such costs related to Diversified’s currently abandoned and/or

 nonproducing wells. 7

                                    JURISDICTION AND VENUE

        18.        This Court has jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C.

 § 1332 (diversity jurisdiction). This action satisfies, among other things, the requirements for

 diversity under 28 U.S.C. § 1332(d) and the Class Action Fairness Act (“CAFA”).

        19.        Plaintiffs are individuals and one irrevocable trust who own property in West

 Virginia.

        20.        As set forth in more detail below, Defendants are corporate entities and/or

 partnerships that are not citizens of West Virginia.




        7
             See infra at ¶ 592 for the complete class definition.


                                                    -6-
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 7 of 78 PageID #: 849




        21.      Plaintiffs bring this case as at least one member of the class of plaintiffs is a citizen

 of a State different from any defendant under 28 U.S.C. § 1332(d)(2) and all of the other

 requirements of 28 U.S.C. § 1332(d) have been satisfied as well, including not running afoul of 28

 U.S.C. § 1332(d)(4). Plaintiffs seek an amount sufficient to carry out Defendants’ duty to plug and

 decommission the abandoned wells and associated infrastructure on their property. Because the

 class members include individuals with more than 23,000 Diversified owned wells on their

 property, and because plugging and abandonment costs will be more than $100,000 per well, the

 amount in controversy exceeds $5,000,000.

        22.     Defendants are subject to this Court’s personal jurisdiction because the actions and

 inactions that caused the harm complained of occurred in this District.

        23.     Venue is proper in this District and Division under 28 U.S.C. § 1391(b)-(d) because

 Defendants are deemed to reside in any judicial district in which they are subject to personal

 jurisdiction when the action is commenced and the Defendants’ contacts with this District are

 sufficient to subject them to personal jurisdiction. Venue is also proper because Plaintiff McEvoy’s

 and the Evans’s property at issue in this action is within this District and, specifically, within this

 Division. The properties of Plaintiffs Stark, Dennison, Goff, the DelRossos, the Silvesters, Wentz,

 and Deem are within this District as well.

                                               PARTIES

        24.     Plaintiffs Mark McEvoy, James and Susan Tawney, Samuel Stark, Susan Dennison,

 Mark Goff, Carol and George DelRosso, Benjamin Patterson, Chad and Michelle Silvester, Eben

 Fritts and Eben Fritts, III, Gary Wentz, Heidi Deem, Jeffrey and Kellie Saltis, Lane and Minerva

 Evans, Maynard and Jennifer Tanner, Joan Medley, Jacob and Regina Collette, Scott Corcoran,




                                                  -7-
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 8 of 78 PageID #: 850




 Kathy Johnson, and Christine Cochran are all landowners who own property in West Virginia.

 They are all citizens of West Virginia.

        25.     Plaintiff Clinton and Candace Drainer Irrevocable Trust is a trust and landowner

 which owns property in West Virginia. It is a citizen of West Virginia.

        26.     Plaintiff Susan Dennison is an individual and landowner. She owns approximately

 20.65 acres in Harrison County, West Virginia. This plaintiff is a citizen of Maryland.

        27.     Defendant Diversified Energy Company, Plc is a public limited corporation

 headquartered in Alabama. Upon information and belief, it is a citizen of Alabama, the place of its

 principal office, and the United Kingdom, the place of its incorporation, but is not a citizen of West

 Virginia. Upon further information and belief, it is publicly traded on the London Stock Exchange

 and does business in West Virginia including through its wholly owned subsidiaries Diversified

 Production, LLC, and Diversified Gas & Oil Corporation and holds ownership and financial

 interests in oil and gas wells in West Virginia.

        28.     Upon information and belief, Defendant Diversified Gas & Oil Plc is a predecessor

 of Diversified Energy Company, Plc, and was the operating name of that entity at the time of the

 July 2018 Voidable Transfers. Like Diversified Energy Company, Plc, Diversified Gas & Oil was

 headquartered in Alabama and held ownership and financial interests in oil and gas wells in West

 Virginia. Upon information and belief, it is a citizen of Alabama, the place of its principal office,

 and the United Kingdom, the place of its incorporation but is not a citizen of West Virginia.

        29.     Defendant Diversified Production, LLC, is a Pennsylvania limited liability

 company with a principal office in Birmingham, Alabama, and authorized to do business in West

 Virginia. Its manager is Diversified Gas & Oil Corporation. It has no other members or managers.




                                                    -8-
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 9 of 78 PageID #: 851




 Upon information and belief, it is a citizen of Alabama and Pennsylvania but is not a citizen of

 West Virginia.

        30.       Defendant Diversified Oil and Gas, LLC, is an Alabama corporation headquartered

 in Birmingham, Alabama, that is authorized to do business in West Virginia. Upon information

 and belief, it is a citizen of Alabama but is not a citizen of West Virginia.

        31.       Defendant Diversified Gas & Oil Corporation is a Delaware corporation with a

 principal office in Birmingham, Alabama, and authorized to do business in West Virginia. Upon

 information and belief, it is a citizen of Delaware and Alabama but is not a citizen of West Virginia.

        32.       Defendant Alliance Petroleum Company, which has merged into Diversified

 Production LLC was at the time of the July 2018 Voidable Transfers, a Pennsylvania company

 with headquarters in Birmingham Alabama authorized to do business in West Virginia. Upon

 information and belief, it is a citizen of Pennsylvania and Alabama but is not a citizen of West

 Virginia.

        33.       Defendant EQT Production Company is a Pennsylvania corporation with principal

 offices in Pittsburgh, Pennsylvania, that is authorized to do business in West Virginia. Upon

 information and belief, it is a citizen of Pennsylvania but is not a citizen of West Virginia.

        34.       Defendant EQT Production Company HTW, LLC, is a Pennsylvania limited

 liability corporation with principal offices in Pittsburgh, Pennsylvania, that is authorized to do

 business in West Virginia. Upon information and belief, it is a citizen of Pennsylvania but is not a

 citizen of West Virginia.

        35.       Defendant EQT Energy, LLC, is a Delaware limited liability company with

 principal offices in Pittsburgh, Pennsylvania, that is authorized to do business in West Virginia.




                                                  -9-
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 10 of 78 PageID #: 852




  Upon information and belief, it is a citizen of Delaware and Pennsylvania but is not a citizen of

  West Virginia.

         36.       Defendant EQT Investment Holdings, LLC, is a Delaware limited liability

  company. Upon information and belief EQT Investment Holdings, LLC, holds an ownership

  and/or financial interest in oil and gas wells in West Virginia. Upon information and belief, it is a

  citizen of Delaware and Nevada but is not a citizen of West Virginia.

         37.       Defendant EQT Gathering, LLC, is a Pennsylvania limited liability company with

  principal offices in Pittsburgh, Pennsylvania, that is authorized to do business in West Virginia.

  Upon information and belief, it is a citizen of Pennsylvania but is not a citizen of West Virginia.

         38.       Defendant EQM Midstream Partners, LP, is a Delaware limited partnership. Upon

  information and belief EQM Midstream Partners, LP, holds an ownership and/or financial interest

  in oil and gas wells in West Virginia. Upon information and belief, it is a citizen of Delaware and

  Pennsylvania but is not a citizen of West Virginia.

         39.       Defendant EQT Midstream Partners, LP, is a Delaware limited partnership. Upon

  information and belief, EQT Midstream Partners, LP, holds an ownership and/or financial interest

  in oil and gas wells in West Virginia. Upon information and belief, it is a citizen of Delaware and

  Pennsylvania but is not a citizen of West Virginia.

         40.       Defendant EQT GP Holdings, LP, is a Pennsylvania general partnership with

  principal offices in Pittsburgh, Pennsylvania. Upon information and belief EQT GP Holdings, LP,

  holds an ownership interest in oil and gas wells in West Virginia. Upon information and belief, it

  is a citizen of Pennsylvania but is not a citizen of West Virginia.




                                                 - 10 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 11 of 78 PageID #: 853




          41.     Defendant EQT Corporation is a Pennsylvania Corporation with a principal office

  in Pittsburgh, Pennsylvania, and authorized to do business in West Virginia. Upon information

  and belief, it is a citizen of Pennsylvania but is not a citizen of West Virginia.

                                                  FACTS

          42.     On or about July 18, 2018, EQT transferred approximately 11,250 wells, and

  upstream and midstream assets, to Diversified for a payment of approximately $523.4 million. 8

          43.     On or about May 2020, EQT transferred approximately 889 wells to Diversified for

  a payment of $114.8 million.

          44.     EQT valued the liabilities associated with the July 2018 Voidable Transfer in

  excess of $200 million immediately prior to the transaction. In contrast, Diversified’s estimate in

  its first report after the transfer reduced these liabilities to only $26 million. 9 Because of the large

  liabilities associated with the wells, Diversified did not receive reasonably equivalent value for

  either the 2018 or 2020 Voidable Transfers.

          45.     As one expert stated, following the July 2018 Voidable Transfers and May 2020

  Voidable Transfers, if Diversified had used industry norms to calculate its plugging and

  decommissioning obligations, those liabilities would have been reported as $2 billion to $3 billion

  rather than the $525 million Diversified actually reported. Upon a fair valuation, Diversified was

  insolvent for purposes of the Alabama UFTA and UVTA. 10

          46.     Diversified undertook these transfers with specific intent to hinder, delay, and

  defraud its creditors. Indeed, Diversified has developed a business model in which it acquires low




          8
            Boettner Report at 19 (Table 1).
          9
            Id. at notes 99–101.
          10
             See id. at note 45 and accompanying text.


                                                   - 11 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 12 of 78 PageID #: 854




  producing wells to produce a small income stream and at the same time delays and inappropriately

  devalues plugging costs while inflating future revenues.

         47.       Diversified’s ability to appear solvent depends on its massive undercounting of

  decommissioning liabilities and inflating of future revenue streams through the use of accounting

  practices that deviate significantly from standard industry practices.

         48.       In the past several years, Diversified has become the largest owner of oil and gas

  wells in the country, and almost all of those wells — more than 63,000 — are located in

  Appalachia, with 23,309 of them alone being located in West Virginia. 11

         49.       Diversified rarely drills new wells — in fact it has drilled only 150 of its own wells

  since 2012. 12

         50.       Instead, it elects to acquire existing wells from other entities: since 2018,

  Diversified has been on an acquisition spree, primarily adding aging, low-producing and “non-

  producing” conventional wells to its inventory. 13

         51.       More than half of its well inventory is uneconomic by industry standards. 14

         52.       Thus, although Diversified is the largest well owner, it is only the 15th largest oil

  and gas producer in Appalachia. 15

         53.       A 2021 report on Diversified’s business practices (the “Boettner Report”) 16 —

  specifically, on page 17 of that Report — offers a standard example of Diversified’s practice. The

  well was owned by EQT from 2006 to 2017, when it was transferred to Alliance Petroleum, which




         11
            Id. at note 4 and accompanying text.
         12
            Id. at 11, Section 1.0.
         13
            Id. at note 4 and accompanying text.
         14
            Id. at note 60 and accompanying text.
         15
            Id. at note 8 and accompanying text.
         16
            See generally Boettner Report.


                                                   - 12 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 13 of 78 PageID #: 855




  was purchased by and became a subsidiary of Diversified in 2018. The 15-year-old vertical

  conventional natural gas well is located near Charleston, West Virginia, in Kanawha State Forest. 17

  It was drilled in December of 2006, and it began producing in January of 2007, according to state

  records. The well initially produced nearly 24,000 Mcf of natural gas, or 11 BOED, its first year

  of production but produced less than 6,000 Mcf in 2020. The average annual decline rate of the

  well is 9 percent. 18 Despite being a low-producing stripper well, the well’s production rate in 2020

  was higher than 80 percent of Diversified’s producing well inventory.

         54.     Diversified’s strategy is “acquiring low-cost, long-life, low-decline” oil and gas

  wells as well as non-producing wells that previous owners wanted to shed. 19

         55.     After acquiring these wells, Diversified performs a number of accounting

  maneuvers designed to significantly reduce and misrepresent the decommissioning liabilities on

  its balance sheet and delay those decommissioning obligations into the future or avoid them

  altogether.

         56.     First, Diversified enters into plugging schedules with state agencies that purport to

  allow it to extend its decommissioning liabilities far into the future. For example, consent

  agreements entered in West Virginia and Pennsylvania only require Diversified to plug roughly

  80 wells per year for the next 15 years, despite the fact that Diversified holds tens of thousands of

  abandoned and low producing wells in these states. 20

         57.     While those consent agreements may provide a smoke-screen and give Diversified

  some comfort in terms of enforcement of its decommissioning duties by state regulatory agencies,




         17
            Id. at note 68 and accompanying text.
         18
            Id. at 17, Figure 7.
         19
            Id. at note 55 and accompanying text.
         20
            Id. at notes 10 and 11 and accompanying text.


                                                 - 13 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 14 of 78 PageID #: 856




  they in no way impact the private civil liabilities that Diversified (and EQT) have to private citizens

  over private property rights. 21 Plaintiffs retain the rights they are enforcing in this action against

  Diversified through common law doctrines of trespass, nuisance, and negligence, as well as

  Alabama’s UFTA and UVTA statutes.

          58.     Diversified also estimates its costs to plug wells at values that are far below industry

  standards. 22

          59.     Moreover, Diversified estimates that the economic life of its wells will last far

  beyond standard industry timelines, in part by employing annual rates of production decline that

  are one-third to one-half of the decline rates of other natural gas producers. 23

          60.     Diversified’s accounting practices are also partly based on a set of unjustifiable

  assumptions around the plugging and decommissioning costs that allow the company to account

  for future plugging and decommissioning costs on its books at an unsupportable low value.

          61.     Diversified’s tactics lead it to revalue its decommissioning liabilities at a small

  fraction of the value used by the entities from which Diversified acquires its wells. 24

          62.     In 2020, Diversified estimated its plugging and decommissioning would cost

  $25,000 per well on average, which is much lower than actual costs.




          21
             For example, by the West Virginia agreement’s express terms, Diversified’s compliance
  with the agreement only protects the company from enforcement of its plugging and
  decommissioning obligations by the state. See West Virginia Department of Environmental
  Protection, Consent Order No. 2018-22 (November 19, 2022) at § IV.5.b (“Oil and gas wells
  identified [as abandoned] shall not be subject to any further enforcement activities by the [Office
  of Oil and Gas ] with regard to any requirement to close and plug such wells based upon the lack
  of production in the most previous twelve months so long as Diversified is compliant with the
  terms and conditions of this Order . . . .”) (emphasis added).
          22
             Boettner Report at note 15 and accompanying text.
          23
             Id. at notes 16 and 17 and accompanying text.
          24
             Id. at note 21 and accompanying text.


                                                   - 14 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 15 of 78 PageID #: 857




          63.     To make matters worse, Diversified then lowered this per-well cost by roughly ten

  percent the following year. 25

          64.     Even if the $25,000 cost were accurate, the approximately 7,000 already

  non-producing wells acquired by Diversified in West Virginia, Pennsylvania, Kentucky, and Ohio

  would cost $175,000,000 to decommission and its more than 70,000 wells in those states would

  cost more than $1.75 billion to decommission.

          65.     In fact, well remediation costs on average exceed $100,000 per well.

          66.     Diversified estimates the economic lives of its wells will last through 2095,

  allowing it to delay its cleanup costs for decades. 26 In fact, it will never have sufficient assets to

  meet its plugging liabilities.

          67.     Similarly, in 2020, Diversified estimated that production from its wells will decline

  at only 5 percent per year. That is a significant underestimate. Other natural gas producers’ decline

  rates are two to three times as high. 27

          68.     In its full-year 2021 results, the company acknowledged its actual decline rate for

  the year was, in fact, 9 percent. 28

          69.     In 2021, Diversified estimated inflation rates on plugging and decommissioning

  would be only 2.5 percent per year and did not transparently break out its forecast for future

  plugging and decommissioning costs. 29

          70.     Diversified has benefited from these and other accounting practices.




          25
             Id. at note 15 and accompanying text.
          26
             Id. at note 16 and accompanying text.
          27
             Id. at note 17 and accompanying text.
          28
             Id. at note 18 and accompanying text.
          29
             Id. at note 19 and accompanying text.


                                                   - 15 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 16 of 78 PageID #: 858




          71.      These include the highly unusual Gain on Bargain Purchase (“GoBP”), which

  Diversified has used every year since 2014 to boost its profits without paying taxes. 30

          72.      After most of its acquisitions, it recognizes a “gain,” which is added, tax free, to its

  net income. 31

          73.      It appears that no other companies in the sector, at least according to one

  commentator, use this practice.

          74.      Unlike other oil and gas producers, Diversified has not written off or impaired any

  of its assets over the past few years, even when gas prices were extremely low. 32

          75.      The result of Diversified’s business practices guarantees the revenues from its

  producing wells will not be sufficient to cover the decommissioning obligations associated with

  its wells.

          76.      Diversified now owns tens of thousands of abandoned wells in West Virginia and

  surrounding states with associated plugging and decommissioning obligations that Diversified

  cannot meet.

          77.      As the operator of each of these wells, Diversified has an obligation to plug them.

  That obligation accrued on the date each of the wells was drilled. Diversified acquired the

  obligation with the acquisition of each well. These obligations arise under both West Virginia

  common law and the West Virginia Oil and Gas Act, W. Va. Code § 22-6-1 et seq.

          78.      Further, under West Virginia law, any oil or gas well that has not produced for a

  period of twelve consecutive months “shall be presumed to have been abandoned and shall

  promptly be plugged by the operator.” W. Va. Code § 22-6-19.



          30
             Id. at note 23 and accompanying text.
          31
             Id. at note 24 and accompanying text.
          32
             Id.


                                                    - 16 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 17 of 78 PageID #: 859




          79.       The West Virginia legislature has declared “that it is in the public interest and it is

  the public policy of this state, to foster, encourage and promote the proper plugging of all wells at

  the time of their abandonment to protect the environment and mineral resources of this state.” Id.

  § 22-10-2(b).

          80.       Diversified has specific plans and assets sufficient to plug only a tiny fraction of

  those wells.

          81.       Diversified’s failure to plug its wells is causing real and present harm. For example,

  Diversified has failed to report the extent of methane emissions from its acquired wells (including

  those acquired from EQT).

          82.       That methane leakage not only causes significant environmental harm but is also a

  significant financial liability.

          83.       For example, an analysis of more than 20,000 active wells in Pennsylvania acquired

  by Diversified reveals an unrealistic drop in company-reported methane emissions post-

  acquisition. 33

          84.       Reported leakage for the same wells in 2020 was about 140,000 cubic feet per day

  when 95% of these wells were owned by Diversified. 34

          85.       That is about a 93% reduction in reported leakage related to ownership change, with

  no apparent physical efforts by Diversified to slow the leaks.

          86.       While it may appear that EQT and other companies that transferred wells to

  Diversified reduced their emissions substantially between 2014 and 2020, that reduction is a

  mirage: Diversified was acquiring many of the leaking wells and decreasing reported emissions.35



          33
             Id. at note 31 and accompanying text.
          34
             Id. at note 33 and accompanying text.
          35
             Id. at note 34 and accompanying text.


                                                    - 17 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 18 of 78 PageID #: 860




         87.     The high concentration of low-producing wells in one company’s portfolio — along

  with more than 100,000 additional stripper wells in the region — presents a risk that even more

  wells could become orphaned or wards of the state.

         88.     If Diversified were to go out of business, landowners would be on the hook for

  billions in clean-up costs for those wells since operators are not required to set aside sufficient

  plugging and decommissioning costs upfront. 36

                             EQT’S ROLE: SHEDDING LIABILITIES

         89.     Diversified’s overall business scheme is made possible only through the

  cooperation of entities such as Defendant EQT, which offloaded wells that it knew or should have

  known would become decommissioning liabilities — liabilities that it knew or should have known

  Diversified would not be able to satisfy. 37

         90.     EQT is a sophisticated industry player. It is the natural gas largest producer in the

  United States and second largest well owner in Appalachia, behind only Diversified.

         91.     Although Diversified owns 3.4 times as many wells as EQT, 38 EQT produces 8.7

  times more oil and gas than Diversified. 39

         92.     On average, Diversified’s producing wells in the region produce 2 BOED compared

  to the four-state average of 25 BOED.

         93.     EQT was aware of and understood the limited profitability of Diversified’s well

  portfolio, including the liabilities associated with thousands of wells it sold to Diversified.




         36
            Id. at note 35 and accompanying text.
         37
            See id. at note 71 and accompanying text.
         38
            Id. at 15, Figure 4.
         39
            Id. at 15, Figure 5.


                                                  - 18 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 19 of 78 PageID #: 861




         94.     Note Q from EQT Corporation’s Form 10-Q filing with the United States Securities

  and Exchange Commission for the Quarterly Period Ending September 30, 2018, reflects the high

  level of detail that EQT had about the transaction at issue. Note Q of EQT Corporation and

  Subsidiaries Notes to Condensed Consolidated Financial Statements (Unaudited) — entitled

  “Divestitures” — details with particularity the issues and potential fraud of the parties:

         On July 18, 2018, the Company sold approximately 2.5 million non-core, net acres
         in the Huron Play for net proceeds of $523.6 million, subject to final purchase price
         adjustments (the Huron Divestiture). The assets sold in the Huron Divestiture
         included approximately 12,000 productive wells with current net production of
         approximately 200 Mmcfe per day, approximately 6,400 miles of low-pressure
         gathering lines and 59 compressor stations. The Company retained the deep
         drilling rights across the divested acreage

         During the first quarter of 2018, the Company recorded an impairment of $2.3
         billion associated with the production and related midstream assets in the Huron
         and Permian Plays.

  Id. at Page 43, Note Q (emphasis added). This was not a one-time deal between Diversified and

  EQT. In addition to the 2018 and 2020 Voidable Transfers described above, an EQT subsidiary

  made a similar transaction with Diversified in or around 2012.

         95.     An article by Hart Energy of May 26, 2020, pointed out the following:

         EQT Corp. said May 26 it closed a multimillion dollar transaction to sell certain
         non-strategic assets with proceeds used to pay down the U.S. shale gas producer’s
         debt.

         [Diversified], which had disclosed the deal earlier this month, agreed to purchase
         the package of upstream and midstream Appalachia assets for initial consideration
         of $125 million. The deal includes contingency payments of up to $20 million plus
         relieves EQT of approximately $47 million in asset retirement obligations and
         other liabilities associated with the assets.

         Proceeds from the sale have been used to pay down EQT’s term loan due 2021,
         which CEO Toby Rice said demonstrates the company’s commitment improving
         the balance sheet and reducing debt.

         “These assets sit outside our core focus area and the divestment will enable a
         heightened focus on our core asset portfolio,” Rice said in a statement.



                                                 - 19 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 20 of 78 PageID #: 862




           “Additionally, the transaction relieves EQT of the higher relative operating costs
           and substantial asset retirement obligations associated with these assets and will
           improve our financial standing.”

           The EQT assets comprise about 8,500 net acres located in Pennsylvania and West
           Virginia with an estimated 48 million BOE of reserves and PV-10 value of $185
           million, according to a Diversified company release.

           Primarily a conventional asset operator, Diversified also noted about 10% of the
           wells included in the EQT deal are unconventional and prospective for the
           Marcellus and Utica shales.

  ”EQT Closes $125 Million Asset Sale to Diversified Oil and Gas,” Hart Energy (May 26, 2020).

           96.    The foregoing demonstrates that EQT viewed the sale principally as a way to reduce

  liabilities associated with the wells.

           97.    As EQT was aware, Diversified could only be profitable by largely ignoring the

  millions of dollars of asset retirement obligations — namely, plugging and decommissioning costs

  — that EQT bragged to its shareholders about shedding.

             THE FRAUDULENT NATURE OF DIVERSIFIED’S TRANSACTIONS WITH
                EQT WOULD COULD NOT REASONABLY BEEN KNOWN UNTIL
                                    RECENTLY

           98.    The Plaintiffs in this action did not actually know that Diversified’s transfers with

  EQT were fraudulent transfers until they were informed by their attorneys. They were not so

  informed until May 2022 at the earliest.

           99.    The Plaintiffs in this action could not reasonably be expected to discover the

  fraudulent nature of Diversified’s transfers until they were informed by their attorneys or at the

  very earliest the publication of the Boettner Report on April 12, 2022.

           100.   Through the use of sophisticated accounting techniques and business strategies

  described above, Diversified unreasonably inflated its assets and unreasonably discounted its

  liabilities.




                                                 - 20 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 21 of 78 PageID #: 863




          101.    Because of those accounting techniques and business strategies Diversified

  appeared to be a solvent company at the time of the transfer when in fact it was insolvent and/or

  undercapitalized in relation to its current and future plugging and decommissioning obligations.

          102.    Public annual reports and presentations of the company have claimed that

  Diversified is a solvent company with significant profits, when in fact the Company’s liabilities

  far exceed its assets.

          103.    As explained above, Diversified took extraordinary measures to conceal the true

  extent of its liabilities from the public. The insolvency and undercapitalization of Diversified

  wasn’t publicly revealed until at least April 12, 2022, upon the publication of the Boettner Report,

  which revealed the unorthodox accounting techniques and business strategies of Diversified.

                            PLAINTIFFS’ SPECIFIC ALLEGATIONS

          104.    Diversified’s failures to promptly plug and remediate the non-producing and

  abandoned wells on Plaintiffs’ properties constitute violations of Plaintiffs’ real property rights.

          105.    Defendants have violated and will continue to violate Plaintiffs’ property rights by

  failing to promptly plug their wells, remove derelict equipment, properly reclaim the land, vacate

  Plaintiffs’ property, and take all other steps legally necessary to properly close the well.

          106.    The wells damage Plaintiffs’ property values and environmental interests.

          107.    The non-producing and abandoned wells are not reasonable and necessary for

  mineral extraction, evidenced by the fact that there is no current mineral production.

          108.    The non-producing and abandoned wells have not been plugged promptly after

  abandonment as required by West Virginia law.

          109.    The non-producing and abandoned wells are both a trespass and a nuisance under

  West Virginia law.




                                                  - 21 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 22 of 78 PageID #: 864




         110.    Additionally, Defendants’ failures to plug the wells constitute negligent acts under

  West Virginia law that have caused injuries to Plaintiffs. Plaintiffs seek to recover from Defendants

  the costs necessary to cure the illegal conduct, including those needed to properly and fully plug

  the wells, remove all natural gas drilling equipment, waste, and other trespassory objects and

  materials from the properties, and complete remediation of the well sites.

         111.    Additionally, because Diversified does not have the resources necessary to

  decommission more than a few of the 70,000 wells it owns in West Virginia, Pennsylvania,

  Kentucky, and Ohio (and because it became obligated for the decommissioning costs upon the

  consummation of its transactions with EQT), Diversified will violate Plaintiffs’ property rights on

  nearly all of its west Virginia wells.

                                  Plaintiff Mark McEvoy’s Property

         112.    Plaintiff Mark McEvoy is an individual and landowner in Wetzel County, West

  Virginia. He owns approximately 74 acres in Wetzel County, West Virginia. McEvoy uses the

  property for customary uses, including for recreation, firewood, and as a personal investment.

         113.    McEvoy owns the surface estate. He does not possess the right to produce oil or gas

  from the property because the mineral estate was severed from the surface estate prior to Mr.

  McEvoy’s purchase of the property. See Book 474 page 619 in Wetzel County, West Virginia.

         114.    Diversified Production, LLC is listed by the West Virginia Office of Oil and Gas

  (“Office of Oil and Gas”) as the operator of a gas well on Plaintiff’s property.

         115.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 47-103-00705 (the “well”).

         116.    Diversified acquired the well from EQT on or about May 2020 as part of a

  transaction involving more than 880 other wells.




                                                 - 22 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 23 of 78 PageID #: 865




         117.      When McEvoy purchased the property, the well was, to the best of his knowledge,

  producing gas.

         118.      Reports from the West Virginia Office of Oil and Gas show that the well was in

  place by at least 1985.

         119.      As a surface owner, McEvoy is not entitled to royalties or other compensation for

  gas production by the mineral estate owner or its lessee.

         120.      According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2018.

         121.      According to the Office of Oil and Gas, the well has never produced oil.

         122.      The Office of the Oil and Gas lists the status of the well as “abandoned.”

         123.      The sole purpose of the well was the extraction of oil and/or natural gas.

         124.      Without any mineral production on the McEvoy’s property, there is no purpose and

  no legal justification for the continued presence of the well or its associated equipment.

         125.      The well has not been plugged or decommissioned.

         126.      The well site includes derelict equipment owned by Diversified.

         127.      Diversified performs no maintenance on the well.

         128.      Diversified does not monitor the well for leakage of methane or other harmful

  gasses into the atmosphere.

         129.      Diversified does not monitor the well for leakage from the well bore and/or well

  casing into Plaintiff’s groundwater or surface water.

         130.      Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface




                                                  - 23 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 24 of 78 PageID #: 866




  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Plaintiff’s property.

         131.     The abandoned well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least three years.

         132.     Diversified has no right to leave the unplugged well or the unreclaimed well site on

  McEvoy’s property.

         133.     The continued presence of the unplugged well and unreclaimed well site

  substantially devalue McEvoy’s real property.

         134.     The well is a safety hazard and is an actual or potential environmental hazard.

         135.     McEvoy suffers headaches and illness as a result of the emissions from the well on

  his property.

                           Plaintiffs James and Susan Tawney’s Property

         136.     Plaintiffs James and Susan Tawney are husband and wife who own approximately

  93 acres in Nicholas County, West Virginia. The Tawneys use the property for customary uses,

  including for their residence, recreation, gardening, firewood, and as a personal investment. They

  also operate, as a business, a campground on the site.

         137.     The Tawneys own the land in fee simple. They have leased the oil and gas rights,

  which Diversified formerly used to produce at the property.

         138.     They have not received royalties from Diversified for at least the last two years.

         139.     Diversified Production, LLC is listed by the West Virginia Office of Oil and Gas

  as the operator of a gas well on Plaintiffs’ property.




                                                  - 24 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 25 of 78 PageID #: 867




         140.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 47-067-00689 (the “well”). Diversified acquired the well from EQT on

  or about July 18, 2018 as part of a transaction involving more than 11,000 other wells.

         141.    When the Tawneys purchased the property, the well was producing gas.

         142.    Records from the West Virginia Office of Oil and Gas show the well was in place

  from at least 1990.

         143.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2019.

         144.    According to the Office of Oil and Gas, the well has never produced oil.

         145.    The Office of the Oil and Gas lists the status of the well as “abandoned.”

         146.    The sole purpose of the well was the extraction of oil and/or natural gas.

         147.    The Tawneys’ mineral lease does not provide any justification for the remainder of

  equipment from abandoned wells that are no longer being used for oil and gas production or

  activities related to the production and sale of oil and gas.

         148.    The well has not been plugged or decommissioned

         149.    The well site includes derelict equipment owned by Diversified.

         150.    Diversified performs little to no maintenance on the well.

         151.    Diversified does not monitor the well for leakage of methane or other harmful

  gasses into the atmosphere.

         152.    Diversified does not monitor the well for leakage from the well bore and/or well

  casing into Plaintiffs’ groundwater or surface water.

         153.    Upon information and belief, pursuant to West Virginia law and the Tawneys’ gas

  lease, Diversified has, at most, a temporary lease to extract oil and gas from the subsurface of the




                                                  - 25 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 26 of 78 PageID #: 868




  Tawneys’ property or to perform activities related to the production and sale of oil and gas on the

  property.

          154.    The well is not extracting oil or gas because the well is abandoned and has not been

  used for that purpose for at least two years. In addition, it is no longer being used for any activities

  related to the production or sale of oil or gas.

          155.    The Tawneys’ mineral lease does not give the lessee the right to avoid “promptly”

  plugging the well upon abandonment.

          156.    Diversified has no right to leave the unplugged well or the unreclaimed well site on

  the Tawneys’ property.

          157.    The continued presence of the unplugged well and unreclaimed well site devalues

  the Tawneys’ real property.

          158.    The well is a safety hazard and is an actual or potential environmental hazard.

          159.    The well devalues the Tawneys’ business.

                                  Plaintiff Samuel Stark’s Property

          160.    Plaintiff Samuel Stark owns approximately 500 acres in Harrison County, West

  Virginia. Mr. Stark uses the property for customary uses, including recreation, gardening,

  firewood, and as a personal investment.

          161.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of a gas well on Plaintiffs’ property.

          162.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 47-033-01404 (the “well”).

          163.    Diversified acquired the well through its subsidiary in 2018 from Consol Gas

  Company.




                                                     - 26 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 27 of 78 PageID #: 869




         164.    When Mr. Stark acquired the property, the well was producing gas.

         165.    Records from the West Virginia Office of Oil and Gas show that the well has been

  in place since at least 1985.

         166.    As a surface owner, Mr. Stark is not entitled to royalties or other compensation for

  gas production by the mineral estate owner or its lessee on the land occupied by the well.

         167.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2017.

         168.    According to the Office of Oil and Gas, the well has never produced oil.

         169.    The Office of the Oil and Gas lists the status of the well as “abandoned.”

         170.    The sole purpose of the well was the extraction of oil and/or natural gas.

         171.    Without any mineral production on Mr. Stark’s property there is no purpose and no

  legal justification for the continued presence of the well or its associated equipment.

         172.    The well has not been plugged or decommissioned

         173.    The well site includes derelict equipment owned by Diversified.

         174.    Diversified performs little to no maintenance on the well.

         175.    Diversified does not monitor the well for leakage of methane or other harmful

  gasses into the atmosphere.

         176.    Diversified does not monitor the well for leakage from the well bore and/or well

  casing into Plaintiffs’ groundwater or surface water.

         177.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from Mr. Stark’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Plaintiff’s property.




                                                 - 27 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 28 of 78 PageID #: 870




         178.      The abandoned well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least three years.

         179.      Diversified has no right to leave the unplugged well or the unreclaimed well site on

  Mr. Stark’s property.

         180.      The continued presence of the unplugged well and unreclaimed well site

  substantially devalues Mr. Stark’s real property.

         181.      The well is a safety hazard and is an actual or potential environmental hazard.

                                 Plaintiff Susan Dennison’s Property

         182.      Plaintiff Susan Dennison is an individual and landowner. She owns approximately

  20.65 acres in Harrison County, West Virginia. Dennison uses the property for customary uses,

  including for part-time residence and recreation.

         183.      Dennison owns the surface estate. Upon information and belief she does not possess

  the right to produce oil or gas from the property because the mineral estate was severed from the

  surface estate prior to Dennison’s purchase of the property.

         184.      Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of a gas well on Plaintiff’s property.

         185.      The first conventional vertical gas well is known by a unique numerical identifier,

  called an API number, which is 47-033-01397.

         186.      Diversified acquired the well through its subsidiary in 2018 from Consol Gas

  Company.

         187.      When Dennison acquired the property, the well was, to the best of her knowledge,

  producing gas.




                                                  - 28 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 29 of 78 PageID #: 871




         188.    Records from the West Virginia Office of Oil and Gas show that the well has been

  in place since at least 1985.

         189.    As a surface owner, Dennison is not entitled to royalties or other compensation for

  gas production by the mineral estate owner or its lessee.

         190.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2018.

         191.    According to the Office of Oil and Gas, the well has never produced oil.

         192.    The Office of the Oil and Gas lists the status of the Dennison wells as “abandoned.”

         193.    The sole purpose of the well was the extraction of oil and/or natural gas.

         194.    Without any mineral production on Dennison’s property, there is no purpose and

  no legal justification for the continued presence of the well or its associated equipment.

         195.    The Dennison well has not been plugged or decommissioned.

         196.    The Dennison well site includes derelict equipment owned by Diversified.

         197.    Diversified performs no maintenance on the well.

         198.    Diversified does not monitor the Dennison well for leakage of methane or other

  harmful gasses into the atmosphere.

         199.    Diversified does not monitor the Dennison wells for leakage from the well bore

  and/or well casing into Plaintiff’s groundwater or surface water.

         200.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Plaintiff’s property.




                                                 - 29 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 30 of 78 PageID #: 872




            201.   The abandoned well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least three years.

            202.   The well site constantly emits a foul, gassy odor.

            203.   Diversified has no right to leave the unplugged well or the unreclaimed well site on

  Dennison’s property.

            204.   The continued presence of the unplugged well and unreclaimed well site

  substantially devalues Dennison’s real property.

            205.   The Dennison well is a safety hazard and is an actual or potential environmental

  hazard.

                                    Plaintiff Mark Goff’s Property

            206.   Plaintiff Mark Goff owns approximately 64 acres in Preston County, West Virginia.

  Goff uses the property for customary uses, including recreation and timber and has plans to keep

  livestock.

            207.   Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of a gas well on Plaintiff’s property.

            208.   The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 47-077-00570 (the “well”).

            209.   When Mr. Goff acquired the property, there was no well on it.

            210.   Records from the West Virginia Office of Oil and Gas show that the well was

  drilled in 2017.

            211.   Diversified acquired the well through its subsidiary in 2017 from CNX Gas

  Company.




                                                  - 30 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 31 of 78 PageID #: 873




         212.    As a surface owner, Goff is not entitled to royalties or other compensation for gas

  production by the mineral estate owner or its lessee on the land occupied by the well.

         213.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount at any time since it was drilled.

         214.    According to the Office of Oil and Gas, the well has never produced oil.

         215.    The Office of the Oil and Gas lists the status of the well as “abandoned.”

         216.    The sole purpose of the well was the extraction of oil and/or natural gas.

         217.    Without any mineral production on Mr. Goff’s property, there is no purpose and no

  legal justification for the continued presence of the well or its associated equipment.

         218.    The well has not been plugged or decommissioned

         219.    The well site includes derelict equipment owned by Diversified.

         220.    Diversified performs little to no maintenance on the well.

         221.    Diversified does not monitor the well for leakage of methane or other harmful

  gasses into the atmosphere.

         222.    Diversified does not monitor the well for leakage from the well bore and/or well

  casing into Plaintiffs’ groundwater or surface water.

         223.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from Mr. Goff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Plaintiff’s property.

         224.    The abandoned well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least three years.




                                                 - 31 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 32 of 78 PageID #: 874




         225.     Diversified has no right to leave the unplugged well or the unreclaimed well site on

  Mr. Goff’s property.

         226.     The continued presence of the unplugged well and unreclaimed well site

  substantially devalues Mr. Goff’s real property.

         227.     The well is a safety hazard and is an actual or potential environmental hazard.

                           Plaintiffs Carol and George DelRosso’s Property

         228.     Plaintiffs Carol and George DelRosso own approximately 26 acres in Marion

  County, West Virginia. The DelRossos use the property for customary uses, including as a

  permanent residence and for recreation, gardening, firewood, and as a personal investment.

         229.     The DelRossos own the land in fee simple, subject to an early 1900s oil and gas

  lease, which Diversified and/or its predecessors in interest formerly used to produce oil and gas at

  the property.

         230.     The DelRossos have not received royalties from Diversified.

         231.     Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of a gas well on Plaintiffs’ property.

         232.     The conventional vertical oil and gas well is known by a unique numerical

  identifier, called an API number, which is 47-049-00547 (the “well”).

         233.     When the DelRossos acquired the property in approximately 1986, the well was

  producing gas and oil.

         234.     Records from the West Virginia Oil and Gas show that the well has been in place

  since at least 1989.

         235.     Diversified acquired the well through its subsidiary in 2012 from EQT subsidiary

  Trans Energy.




                                                  - 32 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 33 of 78 PageID #: 875




          236.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2019.

          237.    According to the Office of Oil and Gas, the well’s operator has not reported oil

  production since 2002.

          238.    The Office of the Oil and Gas lists the status of the well as “abandoned.”

          239.    The sole purpose of the well was the extraction of oil and/or natural gas.

          240.    The applicable mineral lease, which governs the mineral rights, does not provide

  any justification for leaving equipment from abandoned wells that are no longer being used for oil

  and gas production or activities related to the production and sale of oil and gas.

          241.    The well has not been plugged or decommissioned.

          242.    The well site includes derelict equipment owned by Diversified.

          243.    Diversified performs little to no maintenance on the well.

          244.    Diversified does not monitor the well for leakage of methane or other harmful

  gasses into the atmosphere.

          245.    Diversified does not monitor the well for leakage from the well bore and/or well

  casing into Plaintiffs’ groundwater or surface water.

          246.    Upon information and belief, pursuant to West Virginia law, Diversified has, at

  most, a temporary lease to extract oil and gas from the subsurface of the DelRosso property or to

  perform activities related to the production and sale of oil and gas on the property.

          247.    The well is not extracting oil or gas, because the well is abandoned and has not been

  used for that purpose for at least three years. In addition, it is no longer being used for any activities

  related to the production or sale of oil or gas.




                                                     - 33 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 34 of 78 PageID #: 876




         248.    The applicable mineral lease does not give the lessee the right to avoid “promptly”

  plugging the well upon abandonment.

         249.    Diversified has no right to leave the unplugged well or the unreclaimed well site on

  the DelRosso property.

         250.    The well site creates a low-lying swampy area. After rainy periods, the water that

  collects at the well site has an oily sheen and/or greasy appearance.

         251.    The continued presence of the unplugged well and unreclaimed well site devalues

  the DelRosso real property.

         252.    The well is a safety hazard and is an actual or potential environmental hazard.

                                    Plaintiff Benjamin Patterson

         253.    Plaintiff Benjamin Patterson is an individual and landowner. Patterson owns

  approximately 265 acres Logan County, West Virginia. Patterson uses the property for hunting

  and a private haunted house business and intends to further develop it for private business.

         254.    Patterson owns the surface estate and a quarter of the mineral rights. Upon

  information and belief, Patterson does not possess the right to produce oil or gas from the property

  because the mineral estate was severed from the surface estate prior to the Patterson’s acquisition

  of the property.

         255.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of four wells on the Patterson property.

         256.    One is a conventional vertical gas well is known by a unique numerical identifier,

  called an API number, which is 047-045-00771.

         257.    As a one quarter mineral owner, Patterson is entitled to a quarter of royalties or

  other compensation for gas production by the mineral estate owner or its lessee.




                                                 - 34 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 35 of 78 PageID #: 877




         258.    According to the Office of Oil and Gas, the operator of well 047-045-00771 has not

  reported natural gas production in any amount since 2015.

         259.    According to the Office of Oil and Gas, the well has not produced oil.

         260.    The Office of the Oil and Gas lists the status of well as “abandoned.”

         261.    The well was drilled on or before 1985.

         262.    Well 047-045-00771 was acquired by or transferred to NYTIS Exploration

  Company in or around 2016. NYTIS Exploration merged with Diversified in 2020.

         263.    The sole purpose of the well is the extraction of oil and/or natural gas.

         264.    Without any mineral production on the Patterson property for well, there is no

  purpose and no legal justification for the continued presence of well or its associated equipment.

         265.    Well 047-045-00771 has not been plugged or decommissioned.

         266.    The well site includes derelict equipment owned by Diversified.

         267.    The derelict equipment includes a wellhead and gathering line.

         268.    Diversified performs little to no maintenance on well 047-045-00771 or the

  associated equipment.

         269.    Diversified does not monitor the well for leakage from the well bore and/or well

  casing into the Patterson groundwater or surface water.

         270.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Patterson’s property.

         271.    The nonproducing well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least six years.




                                                 - 35 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 36 of 78 PageID #: 878




         272.    Diversified has no right to leave the unplugged well, derelict equipment, or the

  unreclaimed well site on the Patterson property.

         273.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues Patterson’s real property.

         274.    The well is a safety hazard and is an actual or potential environmental hazard.

         275.    Diversified is the operator of at least three other wells on the same Patterson

  property.

         276.    The API numbers for those wells are 047-045-01532, 047-045-01646, and 047-

  045-01556.

         277.    Each of these wells was acquired by NYTIS Exploration in or around 2016.

  Diversified merged with NYTIS in 2020.

         278.    Wells 047-045-01532 and 047-045-01556. were drilled on or before 2003.

         279.    Well 047-045-01646 was drilled on or before 2004.

         280.    Diversified has reported production on those wells as recently as 2021. However,

  upon cessation of mineral production, each well will require plugging and full reclamation.

         281.    Diversified is responsible for the plugging of wells 047-091-00720 and 047-081-

  00721 and removing equipment from the Patterson property when those wells cease production.

  As such, Mr. Patterson holds a contingent and/or unmatured claim against Diversified for the

  remediation of those well sites.

                               Plaintiffs Chad and Michelle Silvester

         282.    Plaintiffs Chad and Michelle Silvester are individuals and landowners. They own

  approximately 2.5 acres Barbour County, West Virginia. The Silvesters use the property as their

  full-time residence.




                                                 - 36 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 37 of 78 PageID #: 879




         283.    The Silvesters own the surface estate. Upon information and belief, they do not

  possess the right to produce oil or gas from the property because the mineral estate was severed

  from the surface estate prior to their acquisition of the property.

         284.    As surface owners, the Silvesters are not entitled to royalties or other compensation

  for gas production by the mineral estate owner or its lessee.

         285.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on the Silvester property.

         286.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-001-01116.

         287.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2017.

         288.    According to the Office of Oil and Gas, the well has not produced oil.

         289.    The Office of the Oil and Gas lists the status of the Silvester well as “abandoned.”

         290.    The well was drilled on or before 1985.

         291.    Well 047-001-01116 was acquired by or transferred to Alliance Petroleum in or

  around 2013; Diversified acquired Alliance Petroleum on or around 2020.

         292.    The sole purpose of the well is the extraction of oil and/or natural gas.

         293.    Without any mineral production on the Silvester property for well 047-001-01116,

  there is no purpose and no legal justification for the continued presence of well or its associated

  equipment.

         294.    Well 047-001-01116 has not been plugged, reclaimed, or decommissioned.

         295.    The well site includes derelict equipment owned by Diversified.




                                                  - 37 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 38 of 78 PageID #: 880




         296.    The derelict equipment includes wellhead, tank, and buried lines, as well as lines

  on top of the ground.

         297.    Diversified performs little to no maintenance on the well or the associated

  equipment.

         298.    Diversified does not monitor the well for leakage from the well bore and/or well

  casing into the Silvesters’ groundwater or surface water.

         299.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of the Silvester property.

         300.    The nonproducing well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least four years.

         301.    Diversified has no right to leave the unplugged well, derelict equipment, or the

  unreclaimed well site on the Silvester property. As such it has an obligation to plug the well and

  remove the equipment from the Silvester property.

         302.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues the Silvesters’ real property.

         303.    The well is a safety hazard and is an actual or potential environmental hazard.

                     Plaintiff Clinton and Candace Drainer Irrevocable Trust

         304.    Plaintiff Clinton and Candace Drainer Irrevocable Trust (“Drainer”) is a trust and

  landowner. Drainer owns approximately 100 acres on one parcel and 120 acres on a second nearby

  parcel in Taylor County, West Virginia. Drainer uses the property for residential premises and for

  livestock agriculture and recreation.




                                                 - 38 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 39 of 78 PageID #: 881




         305.    Drainer owns the surface estate. Upon information and belief, the trust does not

  possess the right to produce oil or gas from the property because the mineral estate was severed

  from the surface estate prior to the trust’s acquisition of the property.

         306.    As a surface owner, Drainer is not entitled to royalties or other compensation for

  gas production by the mineral estate owner or its lessee.

         307.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of three wells on the Drainer property.

         308.    One conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-091-00086.

         309.    A second conventional vertical gas well is known by a unique numerical identifier,

  called an API number, which is 047-091-00720.

         310.    A third conventional vertical gas well is known by a unique numerical identifier,

  called an API number, which is 047-091-00721.

         311.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2019 for well 047-091-00086.

         312.    According to the Office of Oil and Gas, well 047-091-00086 has not produced oil.

         313.    The Office of the Oil and Gas lists the status of the Drainer well as “abandoned.”

         314.    Well 047-091-00086 was drilled on or before 1985.

         315.    Well 047-091-00086 was acquired by or transferred to Alliance Petroleum in 2013,

  which in turn was acquired by Diversified on or about 2020.

         316.    According to the Office of Oil and Gas, the well’s operator has reported natural gas

  production in 2021 for well 047-091-00720 and for 047-091-00721.




                                                  - 39 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 40 of 78 PageID #: 882




         317.    According to the Office of Oil and Gas, neither well 047-091-00720 nor 047-091-

  00721 has produced oil.

         318.    The Office of the Oil and Gas lists the status of the well 047-091-00720 as “active”

  and well 047-091-00721 as “active.”

         319.    Well 047-091-00720 was drilled on or before 1993.

         320.    Well 047-091-00721 was drilled on or before 1993.

         321.    Well 047-091-00720 and well 047-091-00721 were acquired by or transferred to

  Alliance Petroleum in 2013, which in turn was acquired by Diversified on or about 2020.

         322.    The sole purpose of the three wells is the extraction of oil and/or natural gas.

         323.    Without any mineral production on the Drainer property for well 047-091-00086,

  there is no purpose and no legal justification for the continued presence of well or its associated

  equipment.

         324.    Well 047-091-00086 has not been plugged, reclaimed, or decommissioned.

         325.    The well site at well 047-091-00086 includes derelict equipment owned by

  Diversified.

         326.    Diversified performs little to no maintenance on the well 047-091-00086 or the

  associated equipment.

         327.    Diversified does not monitor the well 047-091-00086 for leakage from the well

  bore and/or well casing into Drainer’s groundwater or surface water.

         328.    Despite the production of some amount of gas at well 047-091-00720 and well 047-

  091-00721, the wells nonetheless will require plugging and reclamation upon cessation of mineral

  production or if production reports are incorrect.




                                                 - 40 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 41 of 78 PageID #: 883




            329.   Well 047-091-00721 was only marginally productive in 2021. According to

  industry standard classifications it is “uneconomic” or “financially distressed” meaning that it

  costs more to maintain than the well brings in revenue.

            330.   Diversified is responsible for the plugging of wells 047-091-00720 and 047-081-

  00721 and removing equipment from the Drainer Trust property when those wells cease

  production. As such, the Drainer Trust holds a contingent and/or unmatured claim against

  Diversified for the remediation of those well sites.

            331.   Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Drainer’s property.

            332.   The nonproducing well 047-091-00086 is not reasonable and necessary to extract

  oil or gas because the well is abandoned and has not been used for that purpose for at least two

  years.

            333.   Diversified has no right to leave the unplugged well or the unreclaimed well site on

  the Drainer property.

            334.   The continued presence of the unplugged well and unreclaimed well site

  substantially devalues the Drainer’s real property.

            335.   Well 047-091-00086 is a safety hazard and is an actual or potential environmental

  hazard.




                                                  - 41 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 42 of 78 PageID #: 884




                             Plaintiffs Eben Fritts and Eben Fritts, III

         336.    Plaintiffs Eben Fritts and Eben Fritts, III, are individuals and landowners. The

  Frittses owns approximately 134 acres in Jackson County, West Virginia. They use the property

  as a working beef cattle farm.

         337.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on the Fritts property.

         338.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-035-01615.

         339.    The Frittses own the mineral rights to the property and they formerly received

  royalties from the well, but they have not received royalties or any other form of payment since

  approximately 2016.

         340.    According to the Office of Oil and Gas, the operator of well 047-035-01615 did not

  report natural gas production in 2019 or 2020.

         341.    A small amount of production was reported for 2021. However, Diversified shut

  off and disconnected the well as of 2018.

         342.    According to the Office of Oil and Gas, the well has not produced oil.

         343.    The well was drilled on or before 1985.

         344.    The well was acquired by or transferred to NYTIS Exploration company on or

  around 2017, a company which merged with Diversified on or about 2020.

         345.    The sole purpose of the well is the extraction of oil and/or natural gas.

         346.    Despite the reported production, the well is, upon information and belief, not

  producing gas. There is therefore no purpose and no legal justification for the continued presence

  of well or its associated equipment.




                                                 - 42 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 43 of 78 PageID #: 885




         347.    The well was disconnected and shut off by Diversified or its agents. There is no

  way to transport gas to market from the well.

         348.    The well has not been plugged, reclaimed, or decommissioned.

         349.    The well site includes derelict equipment owned by Diversified.

         350.    Diversified performs little to no maintenance on the well or the associated

  equipment.

         351.    Diversified does not monitor the well for leakage from the well bore and/or well

  casing into the Fritts groundwater or surface water.

         352.    The well site includes regulators, pipelines, a building, and other derelict

  equipment.

         353.    The ground is slipping around the well site, and the earth is sinking around the

  wellhead.

         354.    Any lease rights that Diversified may have held in the past have since terminated

  due to lack of mineral production and/or lack of payments to the Frittses.

         355.    The nonproducing well is not reasonable and necessary to extract oil or gas.

         356.    Diversified is obligated to plug the well, reclaim the land, remove derelict

  equipment, and vacate the premises.

         357.    The nonproducing well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least two years.

         358.    Diversified has no right to leave the unplugged well, derelict equipment, or the

  unreclaimed well site on the Fritts property.

         359.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues the Fritts property.




                                                  - 43 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 44 of 78 PageID #: 886




         360.    The well is a safety hazard and is an actual or potential environmental hazard.

                                         Plaintiff Gary Wentz

         361.    Plaintiff Gary Wentz is an individual and landowner. He owns approximately 26

  acres in Barbour County, West Virginia. Wentz was born and grew up on the property and now

  uses the property for customary uses, including for recreation, hunting, and timber.

         362.    Wentz owns the surface estate. Upon information and belief, he does not possess

  the right to produce oil or gas from the property because the mineral estate was severed from the

  surface estate prior to his acquisition of the property.

         363.    As a surface owner, Wentz is not entitled to royalties or other compensation for gas

  production by the mineral estate owner or its lessee.

         364.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on the Wentz property.

         365.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-033-01016.

         366.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2019.

         367.    According to the Office of Oil and Gas, the well has not produced oil.

         368.    The Office of the Oil and Gas lists the status of the Wentz well as “abandoned.”

         369.    The well was drilled on or before 1985.

         370.    The well was acquired by or transferred to Alliance Petroleum in or around 2013;

  Diversified acquired Alliance Petroleum on or around 2020.

         371.    The sole purpose of the well was the extraction of oil and/or natural gas.




                                                  - 44 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 45 of 78 PageID #: 887




         372.    Without any mineral production on the Wentz property, there is no purpose and no

  legal justification for the continued presence of the well or its associated equipment.

         373.    The Wentz well has not been plugged, reclaimed, or decommissioned.

         374.    The Wentz well site includes derelict equipment owned by Diversified.

         375.    Diversified performs little to no maintenance on the well or the associated

  equipment.

         376.    Diversified does not monitor the Wentz well for leakage from the well bore and/or

  well casing into Plaintiff’s groundwater or surface water.

         377.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Plaintiff’s property.

         378.    The abandoned well is not reasonable and necessary to extract oil or gas, because

  the well is abandoned and has not been used for that purpose for at least two years.

         379.    Diversified has no right to leave the unplugged well or the unreclaimed well site on

  the Wentz property. Diversified has an obligation to plug the well, remediate the site, and remove

  equipment from the Wentz property.

         380.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues Wentz’s real property.

         381.    The well is a safety hazard and is an actual or potential environmental hazard.




                                                  - 45 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 46 of 78 PageID #: 888




                                         Plaintiff Heidi Deem

         382.    Plaintiff Heidi Deem (aka Heidi Deem Heflin) is an individual and landowner. She

  owns approximately 6 acres in Harrison County, West Virginia. Deem uses the property for

  customary uses, including recreation. She intends to use it as a residence for her grandchildren.

         383.    Deem owns the surface estate. Upon information and belief, she does not possess

  the right to produce oil or gas from the property because the mineral estate was severed from the

  surface estate prior to Deem’s acquisition of the property.

         384.    As a surface owner, Deem is not entitled to royalties or other compensation for gas

  production by the mineral estate owner or its lessee.

         385.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on Plaintiff’s property.

         386.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-033-03422.

         387.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2017.

         388.    According to the Office of Oil and Gas, the well has not produced oil.

         389.    The Office of the Oil and Gas lists the status of the Deem well as “abandoned.”

         390.    The well was drilled on or before 1988.

         391.    The well was acquired by or transferred to Alliance Petroleum from Consol Gas

  Company in or around 2018; Diversified acquired Alliance Petroleum on or around 2020.

         392.    The sole purpose of the well was the extraction of oil and/or natural gas.

         393.    Without any mineral production on Deem’s property, there is no purpose and no

  legal justification for the continued presence of the well or its associated equipment.




                                                 - 46 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 47 of 78 PageID #: 889




         394.    The Deem well has not been plugged or decommissioned.

         395.    The Deem well site includes derelict equipment owned by Diversified.

         396.    Diversified performs little to no maintenance on the well or the associated

  equipment.

         397.    Diversified does not monitor the Deem well for leakage from the well bore and/or

  well casing into Plaintiff’s groundwater or surface water.

         398.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Plaintiff’s property.

         399.    The abandoned well is not reasonable and necessary to extract oil or gas, because

  the well is abandoned and has not been used for that purpose for at least four years.

         400.    Diversified has no right to leave the unplugged well or the unreclaimed well site on

  the Deem property. Diversified has an obligation to plug the well, remediate the site, and remove

  equipment from the Deem property.

         401.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues Deem’s real property.

         402.    The well is a safety hazard and is an actual or potential environmental hazard.

                              Plaintiffs Jeffrey L. and Kellie D. Saltis

         403.    Plaintiff Jeffrey L. and Kellie D. Saltis are an individuals and landowners. They

  own approximately 26 acres in Upshur County, West Virginia. They use the property for

  recreation, hunting, full time residence, and storage for a private business.




                                                 - 47 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 48 of 78 PageID #: 890




         404.    The Saltises owns the surface estate. Upon information and belief, they do not

  possess the right to produce oil or gas from the property because the mineral estate was severed

  from the surface estate prior to their acquisition of the property.

         405.    As surface owners, the Saltises are not entitled to royalties or other compensation

  for gas production by the mineral estate owner or its lessee.

         406.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on the Saltis property.

         407.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-097-00935.

         408.    According to the Office of Oil and Gas, the operator of well 047-097-00935 has not

  reported natural gas production in any amount since 2017. There was also no production reported

  in 2015, 2011, or 2012.

         409.    According to the Office of Oil and Gas, the well has not produced oil since 2010.

         410.    The Office of the Oil and Gas lists the status of well as “abandoned.”

         411.    The well was drilled on or before 1985.

         412.    The well was acquired by Alliance Petroleum in or around 2013. Diversified

  acquired Alliance Petroleum in or around 2020.

         413.    The sole purpose of the well is the extraction of oil and natural gas.

         414.    Without any mineral production on the Saltis property, there is no purpose and no

  legal justification for the continued presence of the well or its associated equipment.

         415.    Well 047-097-00935 has not been plugged, reclaimed, or decommissioned.

         416.    The well site includes derelict equipment owned by Diversified.




                                                  - 48 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 49 of 78 PageID #: 891




         417.    Diversified performs little to no maintenance on the well or the associated

  equipment.

         418.    Diversified does not monitor the well for leakage from the well bore and/or well

  casing into the Saltis groundwater or surface water.

         419.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of the Saltis property.

         420.    The nonproducing well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least four years.

         421.    Diversified has no right to leave the unplugged well, derelict equipment, or the

  unreclaimed well site on the Saltis property. Diversified has an obligation to plug the well,

  remediate the site, and remove its equipment from the Saltis property.

         422.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues the Saltis real property.

         423.    The well is a safety hazard and is an actual or potential environmental hazard.

                                 Plaintiffs Lane and Minerva Evans

         424.    Plaintiffs Lane and Minerva Evans are individuals and landowners. They own

  approximately 164 acres Wetzel County, West Virginia.

         425.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on the Evans property.

         426.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-103-01794.




                                                     - 49 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 50 of 78 PageID #: 892




         427.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2018.

         428.    According to the Office of Oil and Gas, the well has not produced oil.

         429.    The Office of the Oil and Gas lists the status of the Evans well as “abandoned.”

         430.    The well was drilled on or before 2000.

         431.    Well 047-103-01794 was acquired by Alliance Petroleum on or around 2013.

  Diversified acquired Alliance in or around 2020.

         432.    The sole purpose of the well was the extraction of oil and/or natural gas.

         433.    Without any mineral production on the Evans property for well 047-103-01794,

  there is no purpose and no legal justification for the continued presence of well or its associated

  equipment.

         434.    Well 047-103-01794 has not been plugged, reclaimed, or decommissioned.

         435.    The well site includes derelict equipment owned by Diversified.

         436.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of the Evans property.

         437.    The nonproducing well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least three years.

         438.    Diversified has no right to leave the unplugged well, derelict equipment, or the

  unreclaimed well site on the Evans property. Diversified has an obligation to plug the well,

  remediate the site, and remove its equipment from the property.




                                                 - 50 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 51 of 78 PageID #: 893




         439.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues the Evanses’ real property.

         440.    The well is a safety hazard and is an actual or potential environmental hazard.

                              Plaintiffs Maynard and Jennifer Tanner

         441.    Plaintiff Maynard Tanner, Jr., and Jennifer Tanner are individuals and landowners.

  The Tanners owns approximately 21 acres Kanawha County, West Virginia. The Tanners use the

  property for their full-time residence, for the full-time residence of adult family members,

  residential leasing, and hunting and recreation.

         442.    The Tanners own the surface estate. Upon information and belief, the Tanners do

  not possess the right to produce oil or gas from the property because the mineral estate was severed

  from the surface estate prior to their acquisition of the property.

         443.    As a surface owner, the Tanners are not entitled to royalties or other compensation

  for gas production by the mineral estate owner or its lessee.

         444.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on the Tanner property.

         445.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-039-04032.

         446.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2019.

         447.    According to the Office of Oil and Gas, the well has not produced oil since 2015.

         448.    The Office of the Oil and Gas lists the status of the Tanner well as “abandoned.”

         449.    The well was drilled on or before 1985.




                                                  - 51 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 52 of 78 PageID #: 894




          450.     Well 047-039-04032 was acquired by or transferred to NYTIS exploration

  company on or around 2016, a company which merged with Diversified on or about 2020.

          451.     The sole purpose of the well is the extraction of oil and/or natural gas.

          452.     Without any mineral production on the Tanner property for well 047-039-04032,

  there is no purpose and no legal justification for the continued presence of well or its associated

  equipment.

          453.     Well 047-039-04032 has not been plugged, reclaimed, or decommissioned.

          454.     The well site includes derelict equipment owned by Diversified.

          455.     The derelict equipment includes an oil pump jack, at least three large tanks, a fenced

  area, exposed gas lines in the Tanner yard, a well head, two separators, electric lines laying on the

  ground, and other fixtures.

          456.     The Tanners can often smell a noxious, gassy odor at their nearby permanent

  residence.

          457.     The soil appears oily near the wellhead. Black spots are common in the soil around

  the well site.

          458.     Leaking tanks killed several trees on the Tanner property. It took six years for grass

  to regrow in a large area.

          459.     Diversified performs little to no maintenance on the well or the associated

  equipment.

          460.     Diversified does not monitor the well for leakage from the well bore and/or well

  casing into the Tanners’ groundwater or surface water.

          461.     Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface




                                                   - 52 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 53 of 78 PageID #: 895




  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of the Tanner property.

         462.    The nonproducing well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least two years.

         463.    Diversified has no right to leave the unplugged well, derelict equipment, or the

  unreclaimed well site on the Tanner property. Diversified has an obligation to plug the well,

  remediate the site and remove equipment from the Tanner’s property.

         464.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues the Tanners’ real property.

         465.    The well is a safety hazard and is an actual or potential environmental hazard.

                                        Plaintiff Joan Medley

         466.    Plaintiff Joan Medley is an individual and landowner. She owns approximately 66

  acres in Kanawha County, West Virginia. Medley and her family use the property for customary

  uses, including for hunting and livestock agriculture. Her full-time residence is nearby but is not

  within the 66 acres.

         467.    Medley owns the surface estate. Upon information and belief, she does not possess

  the right to produce oil or gas from the property because the mineral estate was severed from the

  surface estate prior to Medley’s acquisition of the property.

         468.    As a surface owner, Medley is not entitled to royalties or other compensation for

  gas production by the mineral estate owner or its lessee.

         469.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of at least two nonproducing wells on Plaintiff’s property.




                                                 - 53 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 54 of 78 PageID #: 896




         470.       The first conventional vertical gas well is known by a unique numerical identifier,

  called an API number, which is 047-039-02361.

         471.       The second conventional vertical gas well is known by a unique numerical

  identifier, called an API number, which is 047-039-04586.

         472.       According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2018 for well 047-039-02361.

         473.       According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2018 for well 047-039-04586.

         474.       According to the Office of Oil and Gas, the well 047-039-02361 has not produced

  oil since 2018.

         475.       According to the Office of Oil and Gas, the well 047-039-04586 has not produced

  oil since 2018.

         476.       The Office of the Oil and Gas lists the status of both Medley wells as “abandoned.”

         477.       Well 047-039-02361 was drilled in or before 1985.

         478.       Well 047-039-04586 was drilled in or before 1985.

         479.       Well 047-039-02361 and well 47-039-04586 were acquired by or transferred to

  NYTIS Exploration company on or around 2016, a company which merged with Diversified on or

  about 2020.

         480.       The sole purpose of the wells was the extraction of oil and/or natural gas.

         481.       Without any mineral production on those wells, there is no purpose and no legal

  justification for the continued presence of the wells or their associated equipment.

         482.       The Medley wells have not been plugged, reclaimed, or decommissioned.

         483.       The Medley well sites include derelict equipment owned by Diversified.




                                                   - 54 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 55 of 78 PageID #: 897




            484.   Diversified performs little to no maintenance on the wells and associated road and

  other features of the site.

            485.   Diversified does not monitor the Medley wells for leakage from the well bore

  and/or well casing into Plaintiff’s groundwater or surface water.

            486.   Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Plaintiff’s property.

            487.   The abandoned wells are not reasonable and necessary to extract oil or gas because

  the wells are abandoned and have not been used for that purpose for at least four years.

            488.   Diversified has no right to leave the unplugged wells or the unreclaimed well sites

  on Medley property. Diversified has an obligation to plug the wells, remediate the sites, and

  remove equipment from the Medley’s property.

            489.   The continued presence of the unplugged wells and unreclaimed well sites

  substantially devalues the Medley property.

            490.   The Medley wells are a safety hazard and are an actual or potential environmental

  hazard.

            491.   There are five additional wells on the Medley property with the following API

  numbers: 047-039-03384; 047-039-04748; 047-039-04517; 047-039-02171; 047-039-05075.

            492.   Diversified Production, LLC, is the operator for each of the five wells.

            493.   Each of these wells came to Diversified as a result of its merger with NYTIS. The

  wells were acquired by NYTIS in the same deal, on or about 2016, as the non-producing wells on

  the Medley property.




                                                  - 55 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 56 of 78 PageID #: 898




         494.    These wells are low producing wells. Each produced less than 2 BOED equivalent

  in the last three years. Based on industry standard well classifications these wells appear to be

  “financially distressed” which means they cost more to maintain than they provide in revenue.

         495.    Although those five wells currently report mineral production, Diversified has the

  responsibility to plug these wells once production ceases and/or it does not report production for

  any of these wells for a period of 12 months.

         496.    Because of Diversified’s responsibility to plug these wells, Ms. Medley has a

  contingent and/or unmatured claim against Diversified for the costs to plug these wells.

                                 Plaintiffs Jacob and Regina Collette

         497.    Plaintiff Jacob and Regina Collette are individuals and landowners. The Collettes

  own approximately 269 acres Barbour County, West Virginia. The Collettes use the property for

  recreational purposes, including hunting.

         498.    The Collettes own the surface estate. Upon information and belief, the Collettes do

  not possess the right to produce oil or gas from the property because the mineral estate was severed

  from the surface estate prior to their acquisition of the property.

         499.    As surface owners, the Collettes are not entitled to royalties or other compensation

  for gas production by the mineral estate owner or its lessee.

         500.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on the Collette property.

         501.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-001-00211.

         502.    According to the Office of Oil and Gas, the operator of well 047-001-00211 has not

  reported natural gas production in any amount since 2018.




                                                  - 56 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 57 of 78 PageID #: 899




            503.   According to the Office of Oil and Gas, the well has not produced oil.

            504.   The Office of the Oil and Gas lists the status of well as “abandoned.”

            505.   The well was drilled on or before 1985.

            506.   The well was acquired by or transferred to Alliance Petroleum from Consol Gas

  Company in or around 2018; Diversified acquired Alliance Petroleum on or around 2020.

            507.   The sole purpose of the well is the extraction of oil and/or natural gas.

            508.   Without any mineral production on the Collette property, there is no purpose and

  no legal justification for the continued presence of the well or its associated equipment.

            509.   Well 047-001-00211 has not been plugged, reclaimed, or decommissioned.

            510.   The well site includes derelict equipment owned by Diversified.

            511.   The derelict equipment includes a wellhead and pipelines.

            512.   Diversified poorly maintains the access road to the wellhead such that it is badly

  eroded.

            513.   Diversified performs little maintenance on the well, road, and the associated

  equipment.

            514.   Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of the Collette property.

            515.   The nonproducing well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least three years.




                                                   - 57 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 58 of 78 PageID #: 900




          516.    Diversified has no right to leave the unplugged well, derelict equipment, or the

  unreclaimed well site on the Collette property. Diversified has an obligation to plug the well,

  remediate the site and remove equipment from the Collette property.

          517.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues the Collette real property.

          518.    The well is a safety hazard and is an actual or potential environmental hazard.

                                        Plaintiff Scott Corcoran

          519.    Plaintiff Scott Corcoran is an individual and landowner. Corcoran owns

  approximately 100.5 acres in Taylor County, West Virginia. Corcoran uses the property, which

  includes a cabin, barn, field, and forests, for recreation.

          520.    Corcoran owns the surface estate. Upon information and belief, Corcoran does not

  possess the right to produce oil or gas from the property because the mineral estate was severed

  from the surface estate prior to his acquisition of the property.

          521.    As a surface owner, Corcoran is not entitled to royalties or other compensation for

  gas production by the mineral estate owner or its lessee.

          522.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of three wells on the Corcoran property.

          523.    One conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-091-00983.

          524.    According to the Office of Oil and Gas, the operator of well 047-091-00983 has not

  reported natural gas production in any amount since 2018.

          525.    According to the Office of Oil and Gas, well 047-091-00983 has not produced oil.




                                                   - 58 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 59 of 78 PageID #: 901




         526.    The Office of the Oil and Gas lists the status of well 047-091-00983 as

  “abandoned.”

         527.    Well 047-091-00983 was drilled on or before 1996.

         528.    Well 047-091-00983 was acquired by or transferred to Alliance Petroleum in 2013,

  which in turn was acquired by Diversified on or about 2020.

         529.    The sole purpose of the well is the extraction of oil and natural gas.

         530.    Without any mineral production on the Corcoran property, there is no purpose and

  no legal justification for the continued presence of the well or its associated equipment.

         531.    Well 047-091-00983 has not been plugged, reclaimed, or decommissioned.

         532.    The well site includes derelict equipment owned by Diversified.

         533.    A second conventional vertical gas well is known by a unique numerical identifier,

  called an API number, which is 047-091-00858.

         534.    Well 047-091-00858 was also acquired by Alliance Petroleum on or around 2013,

  and acquired by Diversified with that company in 2020.

         535.    According to the Office of Oil and Gas, the operator of well 047-091-00858

 has reported natural gas production as recently as 2021.

         536.    However, the well is extremely overgrown, untended, and appears to be

  inoperative.

         537.    The derelict equipment at 047-091-00858 includes a tank, a wellhead, and pipes.

  The area is so overgrown that Corcoran can no longer safely mow the area because gas pipelines

  are now concealed by overgrowth.

         538.    A third conventional vertical gas well is known by a unique numerical identifier,

  called an API number, which is 047-091-00855.




                                                 - 59 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 60 of 78 PageID #: 902




         539.    According to the Office of Oil and Gas, the operator of well 047-091-00855 has

  reported natural gas production as recently as 2021.

         540.    Well 047-091-00855 was also acquired by Alliance Petroleum on or around 2013,

  and acquired by Diversified with that company in 2020.

         541.    The wells either require plugging and reclamation immediately or will require

  plugging and reclamation upon cessation of mineral production.

         542.    Because of Diversified’s responsibility to plug the wells now or on cessation of

  production, Mr. Corcoran has at least a “contingent” or “unmatured” claim against Diversified for

  well plugging and site remediation.

         543.    Diversified performs little to no maintenance on the wells or the associated

  equipment.

         544.    Diversified does not monitor the wells for leakage from the well bore and/or well

  casing into the Corcoran groundwater or surface water.

         545.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of the Corcoran property.

         546.    The nonproducing wells are not reasonable and necessary to extract oil or gas

  because the wells are abandoned and are not being used for that purpose.

         547.    Diversified has no right to leave the unplugged wells, derelict equipment, or the

  unreclaimed well sites on the Corcoran property.

         548.    The continued presence of the unplugged wells and unreclaimed well sites

  substantially devalues Corcoran’s real property.




                                                - 60 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 61 of 78 PageID #: 903




         549.    The wells are a safety hazard and are an actual or potential environmental hazard.

                                       Plaintiff Kathy Johnson

         550.    Plaintiff Kathy M. Johnson (aka Kathy Johnson Howard) is an individual and

  landowner. She owns approximately 20 acres in two adjoining parcels in Kanawha County, West

  Virginia. Johnson and her family use the property for customary uses, including her full-time

  residence and for hunting, recreation, and wildlife viewing.

         551.    Johnson owns the surface estate. Upon information and belief, she does not possess

  the right to produce oil or gas from the property because the mineral estate was severed from the

  surface estate prior to Johnson’s purchase of the property.

         552.    As a surface owner, Johnson is not entitled to royalties or other compensation for

  gas production by the mineral estate owner or its lessee.

         553.    Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well on Plaintiff’s property.

         554.    The conventional vertical gas well is known by a unique numerical identifier, called

  an API number, which is 047-039-03587.

         555.    According to the Office of Oil and Gas, the well’s operator has not reported natural

  gas production in any amount since 2018.

         556.    According to the Office of Oil and Gas, the well has not produced oil since 2018.

         557.    The Office of the Oil and Gas lists the status of the Johnson well as “abandoned.”

         558.    The well was drilled on or before 1985.

         559.    The well was acquired by or transferred to NYTIS Exploration Company in or

  around 2016. NYTIS merged with Diversified in or around 2020.

         560.    The sole purpose of the well was the extraction of oil and/or natural gas.




                                                 - 61 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 62 of 78 PageID #: 904




          561.    Without any mineral production on Johnson’s property, there is no purpose and no

  legal justification for the continued presence of the well or its associated equipment.

          562.    The Johnson well has not been plugged, reclaimed, or decommissioned.

          563.    The Johnson well site includes derelict equipment owned by Diversified.

          564.    Diversified performs little to no maintenance on the well and associated road and

  other features of the site.

          565.    Diversified does not monitor the Johnson well for leakage from the well bore and/or

  well casing into Plaintiff’s groundwater or surface water.

          566.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of Plaintiff’s property.

          567.    The abandoned well is not reasonable and necessary to extract oil or gas because

  the well is abandoned and has not been used for that purpose for at least four years.

          568.    Diversified has no right to leave the unplugged well or the unreclaimed well site on

  Johnson’s property. Diversified has an obligation to plug the well, remediate the site and remove

  its equipment from Jonson’s property.

          569.    The continued presence of the unplugged well and unreclaimed well site

  substantially devalues Johnson’s real property.

          570.    The well is a safety hazard and is an actual or potential environmental hazard.

                                        Plaintiff Christine Cochran

          571.    Plaintiff Christine Cochran lives in Liberty, West Virginia in Putnam County. She

  owns approximately 60 acres, upon which Diversified operates one well.




                                                   - 62 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 63 of 78 PageID #: 905




           572.   Cochran owns the surface estate. Upon information and belief, Cochran does not

  possess the right to produce oil or gas from the property because the mineral estate was severed

  from the surface estate prior to her acquisition of the property.

           573.   As a surface owner, Cochran is not entitled to royalties or other compensation for

  gas production by the mineral estate owner or its lessee.

           574.   Diversified Production, LLC, is listed by the West Virginia Office of Oil and Gas

  as the operator of one well.

           575.   That well is a conventional vertical gas well identified by API number 47-079-

  00966.

           576.   According to the Office of Oil and Gas, the operator of well 47-079-00966 has not

  reported natural gas production in any amount since 2019.

           577.   According to the Office of Oil and Gas, well 47-079-00966 has not produced oil.

           578.   The Office of the Oil and Gas lists the status of well 47-079-00966 as “abandoned.”

           579.   Well 47-079-00966 was drilled on or before 1985.

           580.   Well 47-079-00966 was acquired by NYTIS Exploration in or around 2016.

  NYTIS Exploration merged with Diversified in 2020.

           581.   The sole purpose of the well is the extraction of oil and natural gas.

           582.   Without any mineral production on the Cochran property, there is no purpose and

  no legal justification for the continued presence of the well or its associated equipment.

           583.   Well 47-079-00966 has not been plugged, reclaimed or decommissioned.

           584.   The well site includes derelict equipment owned by Diversified.

           585.   According to the Office of Oil and Gas, the operator of well 047-091-00855 has

  reported natural gas production as recently as 2021.




                                                  - 63 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 64 of 78 PageID #: 906




         586.    Diversified performs little to no maintenance on the wells or the associated

  equipment.

         587.    Diversified does not monitor the wells for leakage from the well bore and/or well

  casing into the Corcoran groundwater or surface water.

         588.    Upon information and belief, pursuant to West Virginia law and the deed severing

  the mineral estate from the Plaintiff’s surface estate, Diversified has, at most, a limited surface

  easement implied by law to do what is reasonable and necessary to extract oil and gas from the

  subsurface of the Corcoran property.

         589.    Diversified has no right to leave the unplugged well, derelict equipment, or the

  unreclaimed well sites on the Cochran property.

         590.    The continued presence of the unplugged well and unreclaimed well sites

  substantially devalues Cochran’s real property.

         591.    The well is a safety hazard and are an actual or potential environmental hazard.

                                CLASS ACTION ALLEGATIONS

         592.    Plaintiffs bring this action under Rules 23(b)(2), (3), and (c)(4) of the Federal Rules

  of Civil Procedure on behalf of the following proposed classes:

                a. The Voidable Transfer Class, consisting of all persons or entities that own

                    property in West Virginia on which Diversified owns a well, regardless of

                    whether the wells are currently abandoned or non-producing; and

                b. The Common Law Class, consisting of all persons or entities who own land in

                    West Virginia containing at least one well that (1) is not producing and/or has

                    not produced oil or gas for 12 consecutive months, (2) is currently owned or




                                                 - 64 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 65 of 78 PageID #: 907




                    operated by Diversified, and (3) has not been plugged or properly

                    decommissioned.

         593.    Excluded from the Classes are Defendants; any entities in which they have a

  controlling interest; their agents and employees; and any Judge to whom this action is assigned

  and any member of such Judge’s staff and immediate family.

         594.    The members of each class are ascertainable through evaluation of publicly

  available documents. Records maintained by the West Virginia Office of Oil and Gas identify well

  owners and operators and indicate whether such wells have or have not produced oil or gas during

  all relevant timeframes. Records from county assessors’ offices can be used to identify landowners

  who own property where those wells are located. Upon information and belief, Defendants’

  records will also identify the members of each class.

         595.    Numerosity. Numerosity is satisfied because there are at least 20,000 members of

  the Voidable Transfer Class in West Virginia such that joinder of all potential class members is

  impractical. Similarly, the Common Law Class contains at least 2,000 members such that joinder

  of all potential members is impracticable.

         596.    Commonality. There are questions of law and fact common to Plaintiffs in the

  Voidable Transfer Class. Common questions include but are not limited to the following:

                a. Did Diversified make the July 2018 Voidable Transfers and/or the May 2020

                    Voidable Transfer with actual intent to hinder, delay or defraud its creditors?

                b. Did Diversified receive reasonably equivalent value for the assets it transferred

                    and the obligations it incurred in the July 2018 Voidable Transfer?

                c. Did Diversified receive reasonably equivalent value for assets it transferred and

                    the obligations it incurred in the May 2020 Voidable Transfer?




                                                - 65 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 66 of 78 PageID #: 908




               d. At the time of the July 2018 Voidable Transfer and again at the time of the May

                  2020 Voidable Transfer, was Diversified engaged in or about to engage in a

                  business transaction for which its remaining assets were unreasonably small in

                  relation to the business transaction?

               e. Did Diversified incur debts beyond its ability to pay as they became due?

               f. Did Diversified engage in transactions (namely the July 2018 Voidable Transfers

                  and May 2020 Voidable Transfers) for which its remaining assets were

                  unreasonably small in relation to its business or to those transactions?

               g. Was Diversified insolvent at the time of the July 2018 Voidable Transfers and/or

                  May 2020 Voidable Transfers or as a result of those transfers as determined by

                  a balance-sheet analysis?

        597.   There are also common questions of law and fact common to the proposed Common

  Law Class:

               a. Is the intentional ongoing presence of non-producing and abandoned wells (and

                  associated equipment) a trespass under West Virginia law?

               b. Does the failure of Diversified to decommission its wells on Plaintiffs’ property

                  unreasonably interfere with the Plaintiffs’ free use and enjoyment of their

                  property and/or render ordinary use and physical occupation impossible or

                  unsafe so as to constitute a nuisance under West Virginia law?

               c. Has Diversified breached its duty to Plaintiffs by failing to decommission their

                  abandoned and non-producing wells in accordance with their statutory

                  obligations under W.Va. Code § 22-6-19?




                                               - 66 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 67 of 78 PageID #: 909




          598.   Typicality. Plaintiffs’ claims are typical of members in both the Voidable Transfer

  Class and the Common Law Class. All of the Plaintiffs have claims under the Alabama UFTA

  and/or Alabama UVTA based on the Diversified’s obligation to plug its wells. Each of the

  landowners named in the complaint have matured claims based on the presence of currently

  abandoned/nonproducing wells on their property. Plaintiffs Corcoran, Medley, the Drainer Trust,

  and Patterson also have contingent and/or unmatured claims based on wells that have reported

  recent production, in addition to having matured claims for other nonproducing wells. Each of the

  named class members have wells on their property that are currently abandoned and/or

  nonproducing and are properly part of the Common Law Class.

          599.   Adequacy. Plaintiffs are adequate representatives of the Classes because their

  interests do not conflict with the interests of the other Class members, they will fairly and

  adequately protect the interests of the Class members, and they are represented by counsel skilled

  and experienced in class actions.

          600.   Predominance. Common questions of law and fact regarding Defendants’ liability,

  including EQT’s liability pursuant to the Alabama UFTA and UVTA and Diversified’s liability

  for common law claims, predominate over questions affecting only individual class members; a

  class action is the superior method for fair and efficient adjudication of the issues sought to be

  certified.

          601.   The likelihood that individual members of the classes will prosecute separate

  actions is remote due to the time and expense necessary to conduct such litigation.

          602.   Superiority. Class action treatment is superior to the alternatives for the fair and

  efficient adjudication of the controversy alleged. Such treatment will permit a large number of

  similarly situated persons to prosecute their common claims in a single forum simultaneously,




                                                - 67 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 68 of 78 PageID #: 910




  efficiently, and without the duplication of effort and expense that numerous individual actions

  would entail. There are, on information and belief, thousands of members of the Classes, such that

  joinder of all members is impracticable.

         603.      Under Rule 23(b)(2), through its practices alleged, Diversified and EQT have acted

  on grounds that apply generally to the class such that final injunctive or declarative relief is

  appropriate for the class as a whole.

                                    FIRST CAUSE OF ACTION
                          Trespass by Diversified (Common Law Class only)

         604.      Plaintiffs hereby restate each and every preceding paragraph, as if specifically

  stated herein.

         605.      Diversified has no right to physically occupy the Plaintiffs’ properties for any

  reason other than as reasonable and necessary for oil and gas production.

         606.      Diversified’s wells physically occupy and will continue to physically occupy

  Plaintiffs’ private properties. Such occupation prevents Plaintiffs’ use and enjoyment of the

  occupied properties and contravenes the private property “right to exclude.” Such physical

  occupation is itself actual harm, though other damage is also caused by Diversified’s activities.

         607.      Diversified has caused and continues to cause a wrongful interference with the

  Plaintiffs’ possessory rights in their properties. Diversified has caused and will cause equipment,

  wastes, and other physical objects to leak into and/or remain upon the Plaintiffs’ property without

  lawful authority. The ongoing presence of equipment and material is direct, continuing, and

  physical and constitutes trespass.

         608.      Diversified’s acts and omissions were and are intentional.

         609.      Plaintiffs are entitled to a declaration establishing Diversified’s trespasses.




                                                   - 68 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 69 of 78 PageID #: 911




         610.      Plaintiffs’ injuries resulting from Defendants’ trespass are “susceptible of complete

  pecuniary compensation” and can thus be remedied through money damages. See Wiles v. Wiles,

  134 W.Va. 81, 58 S.E.2d 601 (1950).

         611.      As a result of the trespasses, each Plaintiff is entitled to compensatory damages in

  an amount sufficient to (1) fully and properly plug the well in accordance with all statutory and

  regulatory requirements, (2) reclaim the well site, (3) remove all equipment and fixtures,

  and (4) perform any necessary remediation to land or water resources contaminated by the

  offending well.

         612.      Plaintiffs are further entitled to damages sufficient to compensate for their lost use

  of the property and the annoyance, inconvenience, and aggravation associated with the presence

  of Diversified’s abandoned wells, which damages began to accrue when Diversified first failed to

  carry out their obligations to promptly plug the wells. See Moore v. Equitrans, L.P., 27 F.4th 211

  (4th Cir. 2022).

                                  SECOND CAUSE OF ACTION
                         Nuisance by Diversified (Common Law Class only)

         613.      Plaintiffs hereby restate each and every preceding paragraph, as if specifically

  stated herein.

         614.      The acts and omissions of Diversified on Plaintiffs’ properties unreasonably

  interfere with Plaintiffs’ use and enjoyment of their private properties; such acts and omissions

  disturb the Plaintiffs’ free use of their properties and render ordinary use and physical occupation

  impossible and unsafe.

         615.      Diversified’s acts and omissions injure and will continue to injure the Plaintiffs.

  Such acts and omissions occur on the Plaintiffs’ private real properties and therefore injure the




                                                   - 69 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 70 of 78 PageID #: 912




  Plaintiffs directly, uniquely and specially. The substantial and unreasonable interferences

  constitute a nuisance.

         616.      Plaintiffs are entitled to a declaration that Diversified’s wells constitute a nuisance,

  and to compensatory damages in an amount sufficient to remedy the nuisance.

                                    THIRD CAUSE OF ACTION
                         Negligence by Diversified (Common Law Class only)

         617.      Plaintiffs hereby restate each and every preceding paragraph, as if specifically

  stated herein.

         618.      West Virginia Code § 22-6-19 establishes that Diversified owes Plaintiffs a duty to

  “promptly” plug any wells on Plaintiffs’ properties once those wells are abandoned, i.e., have not

  produced oil or gas for twelve consecutive months.

         619.      By failing to promptly plug their abandoned wells in accordance with their statutory

  obligations, Diversified has breached the duty owed to Plaintiffs. See Syl. Pt. 1, Anderson v.

  Moulder, 183 W. Va. 77, 394 S.E.2d 61 (1990).

         620.      Diversified’s breach of duty has caused harm to Plaintiffs by interfering with their

  exclusive use and enjoyment of their properties, lowering the value of their properties, and

  otherwise causing Plaintiffs annoyance, inconvenience, and aggravation in the use of their

  properties.

         621.      The harm to Plaintiffs and their properties associated with Defendant’s breach of

  its duty was entirely foreseeable.

         622.      Plaintiffs are entitled to a declaration that Diversified’s failure to promptly plug

  their wells upon abandonment constitutes negligent action that is the proximate cause of Plaintiffs’

  injuries, and to compensatory damages in an amount sufficient to remedy those injuries.




                                                    - 70 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 71 of 78 PageID #: 913




                            FOURTH CAUSE OF ACTION
    Avoidance and Recovery of a Voidable Transfer as the Result of an Actual Fraudulent
                        Transfer (Voidable Transfer Class only)

         623.      Plaintiffs hereby restate each and every preceding paragraph, as if specifically

  stated herein.

         624.      Plaintiffs are creditors of Diversified because they hold claims as defined in the

  Alabama UFTA and UVTA against Diversified for Diversified’s obligations to plug and remediate

  wells on their properties. Ala. Code § 8-9A-1; id. § 8-9B-2.

         625.      The July 2018 Voidable Transfers are avoidable under Sections 8-9A-4 of the

  Alabama Code or under otherwise applicable state fraudulent transfer laws.

         626.      The May 2020 Voidable Transfers are avoidable under Sections 8-9B-5 of the

  Alabama Code or under otherwise applicable state fraudulent transfer laws.

         627.      Diversified made the July 2018 and May 2020 Voidable Transfers with actual intent

  to hinder, delay, or defraud its creditors, including Plaintiffs, as described above. In 2018

  Diversified inexplicably discounted $174 million from its liabilities and extended its plugging and

  decommissioning obligations 50 years from its own prior estimates. It has continued to extend its

  plugging obligations into the future and discount its liabilities.

         628.      Diversified made both the July 2018 and May 2020 Voidable Transfers with

  knowledge that the natural consequence of its actions would be that Diversified would not have

  sufficient funding to satisfy its plugging and decommissioning obligations to its creditors,

  including Plaintiffs, as exemplified by its unjustified extension of plugging and decommissioning

  liabilities and use of an unrealistic decline curve.

         629.      The July 2018 and May 2020 Voidable Transfers bear several of the “badges of

  fraud” recognized under the Alabama UFTA and UVTA. Ala. Code § 8-9A-4(b); id. § 8-9B-5(b).




                                                   - 71 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 72 of 78 PageID #: 914




         630.    In assessing the value of the acquired assets Diversified concealed the value of the

  obligations it incurred by unjustifiably underestimating the plugging and decommissioning costs

  of the wells in the transactions.

         631.    The value of the consideration received by Diversified was not reasonably

  equivalent to the amount of the obligations Diversified incurred and the assets it transferred if

  appropriate accounting practices are used to value the wells involved in the transfer.

         632.    The July 2018 and/or May 2020 Voidable Transfers resulted in the insolvency of

  Diversified if proper accounting practices are used to evaluate its liabilities and income as a result

  of the July 2018 and/or the May 2020 Voidable Transfers.

         633.    Because the July 2018 and May 2020 Voidable Transfers are voidable under the

  Alabama UFTA and/or UVTA, or under otherwise applicable state fraudulent transfer laws,

  Plaintiffs are entitled to avoid the July 2018 and May 2020 Voidable Transfers, recover the assets

  Diversified transferred to EQT, and place the obligations incurred back onto the transferor — EQT,

  to the extent necessary to satisfy their claims under Sections 8-9A-7 and 8-9B-8 of the Alabama

  Code or under otherwise applicable fraudulent transfer laws.

         634.    Alternatively, Plaintiffs are entitled to recover judgment for the value of the assets

  transferred and the obligations incurred against the first transferee and any subsequent transferee,

  including Defendant EQT, under Sections 8-9A-7 and 8-9B-8 of the Alabama Code or under

  otherwise applicable state fraudulent transfer laws.




                                                  - 72 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 73 of 78 PageID #: 915




                              FIFTH CAUSE OF ACTION
   Avoidance and Recovery of Voidable Transfer as the Result of a Constructive Fraudulent
                         Transfer (Voidable Transfer Class only)

         635.    Diversified did not receive reasonably equivalent value in exchange for the $523.4

  million and other consideration it transferred to EQT for the billions of dollars in obligations it

  incurred in connection the July 2018 Voidable Transfers.

         636.    Diversified did not receive reasonably equivalent value in exchange for the $114.5

  million and other consideration it transferred to EQT if not billions of dollars in obligations it

  incurred in connection with the May 2020 Voidable Transfers.

         637.    Plaintiffs are creditors of Diversified because they hold claims as defined in the

  Alabama UFTA and UVTA against Diversified for Diversified’s obligations to plug and remediate

  wells on their properties.

         638.    At the time of the July 2018 Voidable Transfers, Diversified (a) was engaged or

  was about to engage in a business or transaction for which its remaining assets were unreasonably

  small in relation to the business or transaction, (b) intended to incur, or believed or reasonably

  should have believed that it would incur, debts beyond its ability to pay as they became due, and/or

  (c) was insolvent or became insolvent as a result of the transfers.

         639.    Because the July 2018 Voidable Transfers are voidable under Sections 8-9A-4

  and/or 8-9A-5 of the Alabama Code or under otherwise applicable state fraudulent transfer laws,

  Plaintiffs are entitled to avoid the July 2018 Voidable Transfers, recover the assets Diversified

  transferred to EQT, and place the obligations incurred back onto the transferor, EQT, to the extent

  necessary to satisfy their claims under Section 8-9A-7 of the Alabama Code or under otherwise

  applicable state fraudulent transfer laws.




                                                 - 73 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 74 of 78 PageID #: 916




         640.     Alternatively, Plaintiffs are entitled to recover judgment for the value of the asset

  transferred or the obligations incurred against the first transferee and any subsequent transferee,

  including the Defendant EQT, under Section 8-9A-7 of the Alabama Code or under otherwise

  applicable state fraudulent transfer laws.

         641.    At the time of the May 2020 Voidable Transfers, Diversified (a) was engaged or

  was about to engage in a business or transaction for which its remaining assets were unreasonably

  small in relation to the business or transaction, (b) intended to incur, or believed or reasonably

  should have believed that it would incur, debts beyond its ability to pay as they became due, and/or

  (c) was insolvent or became insolvent as a result of the transfers.

         642.    As the May 2020 Voidable Transfers are voidable under Sections 8-9B-5 and/or 8-

  9B-6 of the Alabama Code or under otherwise applicable state fraudulent transfer laws, Plaintiffs

  are entitled to avoid the May 2020 Voidable Transfers, recover the assets Diversified transferred

  to EQT, and place the obligations incurred back onto the transferor, EQT, to the extent necessary

  to satisfy their claims under Section 8-9B-8 of the Alabama Code or under otherwise applicable

  state fraudulent transfer laws.

         643.    Alternatively, Plaintiffs are entitled to recover judgment for the value of the assets

  transferred and the obligations incurred against the first transferee and any subsequent transferee,

  including the Defendant EQT, under Section 8-9B-9 of the Alabama Code or under otherwise

  applicable state fraudulent transfer laws.

                                      REQUEST FOR RELIEF

         Plaintiffs respectfully request that the Court:

         1.      Pursuant to Federal Rules of Civil Procedure 23(b)(2), (b)(3) and (c)(4), certify the

  proposed class for the purpose of determining Defendants’ liability to Plaintiffs;




                                                 - 74 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 75 of 78 PageID #: 917




         2.      Enforce the Plaintiffs’ and class members’ private property rights by declaring that

  Diversified’s failure to promptly plug its abandoned wells on Plaintiffs’ and class members’

  properties constitutes trespass, nuisance, and negligence such that Plaintiffs and class members are

  entitled to appropriate damages necessary to remedy their injuries;

         3.      Award Plaintiffs and class members damages from Diversified to compensate them

  for trespass (calculated at the cost of plugging, remediation, and demolition of the abandoned

  wells), nuisance, and negligence;

         4.      Declare that Diversified’s July 2018 Voidable Transfer of nearly $523.4 million to

  EQT and the assumption of plugging obligations in exchange for approximately 11,000 wells is

  avoided as a fraudulent transfer as defined by the Alabama UFTA;

         5.      Declare that Diversified’s May 2020 Voidable Transfer of nearly $114.5 million to

  EQT and the assumption of plugging obligations in exchange for approximately 900 wells is

  avoided as fraudulent transfer as defined by Alabama UVTA;

         6.      Direct the recovery of the assets Diversified transferred to EQT and reimpose the

  plugging and decommissioning obligations incurred by Diversified in the July 2018 and May 2020

  Voidable Transfers back onto the transferor, EQT, to the extent necessary to satisfy Plaintiffs’

  claims under Sections 8-9A-7 and 8-9B-8 of the Alabama Code or under otherwise applicable

  fraudulent transfer laws, or, alternatively, in accordance with Alabama Code §§ 8-9A-7 and 8-9B-

  8, enter Judgment for the value of the property transferred and the obligations incurred by

  Diversified up to the amount necessary to satisfy Plaintiffs’ claims;

         7.      Create a fund from the damages awarded from EQT to be used to plug and

  otherwise decommission Class members’ wells in West Virginia;




                                                 - 75 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 76 of 78 PageID #: 918




         8.     Create a separate fund from damages awarded from Diversified to be used to plug

  and otherwise decommission Class members’ wells;

         9.     Appoint a receiver to take charge of and administer both of those funds;

         10.    Award attorney’s fees as appropriate; and

         11.    Grant Plaintiffs and all Class members such other and further relief as is just and

  equitable under the circumstances.

         Trial by jury is demanded for all causes of action so triable.


 Dated: January 5, 2023                                   Respectfully submitted,


                                                          /s/ Brian A. Glasser
                                                          Brian A. Glasser, Esq. (WVSB No. 6597)
                                                          John W. Barrett, Esq. (WVSB No. 7289)
                                                          Brian R. Swiger (WVSB No. 5872)
                                                          Athanasios Basdekis (WVSB No. 9832)
                                                          William S. Flynn (WVSB No, 13947)
                                                          Panida Anderson admitted pro hac vice
                                                          BAILEY & GLASSER, LLP
                                                          209 Capitol Street
                                                          Charleston, West Virginia 25301
                                                          (304) 345-6555 (phone)
                                                          (304) 342-1110 (fax)
                                                          bglasser@baileyglasser.com
                                                          jbarrett@baileyglasser.com
                                                          bswiger@baileyglasser.com
                                                          tbasdekis@baileyglasser.com
                                                          wflynn@baileyglasser.com
                                                          panderson@baileyglasser.com

                                                          J. Michael Becher (WVSB No. 10588)
                                                          Joseph M. Lovett (WVSB No. 6926)
                                                          Benjamin Luckett (WVSB No. 11463)
                                                          Amanda Demmerle (WVSB No. 13930)
                                                          APPALACHIAN MOUNTAIN ADVOCATES
                                                          P.O. Box 507
                                                          Lewisburg, WV 24901
                                                          (304) 645-9006
                                                          jlovett@appalmad.org



                                                 - 76 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 77 of 78 PageID #: 919




                                               mbecher@appalmad.org
                                               ihowell@appalmad.org
                                               bluckett@appalmad.org
                                               ademmerle@appalmad.org

                                               Attorneys for Plaintiffs and Proposed Class




                                      - 77 -
Case 5:22-cv-00171-JPB-JPM Document 96 Filed 01/05/23 Page 78 of 78 PageID #: 920




                      IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 WHEELING DIVISION

  MARK MCEVOY, et al., individually and
  on behalf of a proposed class,

                                 Plaintiffs,
  v.                                                          CIVIL ACTION NO. 5:22-cv-171
                                                              Honorable Judge John P. Bailey
  DIVERSIFIED ENERGY COMPANY PLC,
  et al.,

                                 Defendants.


                                   CERTIFCATE OF SERVICE

         I, Brian Glasser, hereby certify that on January 5, 2023, I caused to be filed the foregoing

  with the Clerk of the Court using the CM/ECF System, which caused a true and accurate copy of

  such filing to be served upon all attorneys of record.



                                                    /s/ Brian A. Glasser
                                                    Brian A. Glasser, Esq. (WVSB No. 6597)




                                                 - 78 -
